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1    BOREN, OSHER & LUFTMAN LLP
     Jeremy J. Osher (SBN 192109)
2    josher@bollaw.com
3    Saba Zafar (SBN 271963)
     szafar@bollaw.com
4    222 North Pacific Coast Highway, Suite 2222
5    El Segundo, CA 90245
     Telephone: (310) 322-2021
6    Facsimile: (310) 322-2228
7
     Attorneys for Plaintiff
8    IRISH ROVER ENTERTAINMENT, LLC
9
                          UNITED STATES DISTRICT COURT
10
11                      CENTRAL DISTRICT OF CALIFORNIA

12                                  WESTERN DIVISION
13
     IRISH ROVER ENTERTAINMENT,                Case No.: 2:20-cv-06293-CBM-PLA
14   LLC, a California limited liability
15   company,                                  Judge: Hon. Consuelo B. Marshall
                                               Magistrate Judge: Hon. Paul L. Abrams
16               Plaintiff,
17                                              FIRST AMENDED COMPLAINT
           vs.                                  FOR DAMAGES FOR:
18
19   AARON SIMS, an individual; MATT           1. COPYRIGHT INFRINGEMENT
     DUFFER, an individual; ROSS                  (SCREENPLAY);
20   DUFFER, an individual; NETFLIX,           2. COPYRIGHT INFRINGEMENT
21   INC.,  a    Delaware     corporation;        (CONCEPT ART AND LIVE
     NETFLIX STREAMING SERVICES,                  ACTION DEMO);
22   INC., a Delaware corporation; 21          3. CONTRIBUTORY COPYRIGHT
23   LAPS, INC., a California corporation;        INFRINGEMENT;
     and DOES 1 through 50, inclusive,         4. VICARIOUS COPYRIGHT
24                                                INFRINGEMENT; AND
25               Defendants.                   5. DECLARATORY RELIEF.
26                                             DEMAND FOR JURY TRIAL
27
28

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1          COMES NOW Plaintiff IRISH ROVER ENTERTAINMENT, LLC and hereby
2    requests a trial by jury and complains and alleges as against Defendants AARON SIMS,
3    MATT DUFFER, ROSS DUFFER, NETFLIX, INC., NETFLIX STREAMING
4    SERVICES, INC., 21 LAPS, INC., and DOES 1 through 50, and each of them, as
5    follows:
6                              NATURE OF THE ACTION
7          2.     This is an action for copyright infringement arising out of Defendants’
8    unauthorized exploitation of the copyrighted screenplay Totem, written by Jeffrey
9    Kennedy, in connection with Defendants’ creation of the hit television series Stranger
10   Things.
11         3.     Defendants brazenly have infringed upon and incorporated numerous
12   protectible elements from Totem into Stranger Things, including characters, plot,
13   sequence, themes, setting, mood/tone, pace, and dialogue, as well as copyrighted
14   concept art developed by Defendant Aaron Sims for Totem, including key art work,
15   promotional artwork, first class storyboards, creatures, visual effects, and design and
16   creation of CGI characters.
17         4.     Throughout the period of 2009 to 2015, Sims repeatedly was provided
18   access to numerous versions of the Totem screenplay by Kennedy and worked closely
19   with Kennedy during his development of the script.
20         5.     To assist Sims with his creative process, Kennedy shared information
21   regarding the backstory, involved Sims in discussions about story ideas and script
22   revisions, and even proposed the formation of a new production company, through
23   which Kennedy, in partnership with Sims and his producing partner John Norris, would
24   bring Totem to the screen. Unfortunately, and unbeknownst to Kennedy, Sims decided
25   to go in a different direction.
26         6.     Specifically, shortly after receiving another version of Totem from Kennedy
27   in or around Spring 2013, Sims began work with Defendants Matt and Ross Duffer on
28   an unrelated project. Within months of Sims meeting the Duffer Brothers, the Duffer
                                              1
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1    Brothers created a skeleton outline for what was to become Stranger Things, which
2    incorporated various elements from Totem.
3           7.   Notably, the Duffer Brothers repeatedly have claimed to have
4    independently come up with the idea for Stranger Things in 2010. However, in reality,
5    it was not until late 2013—and only after teaming up with Sims—that the Duffer
6    Brothers actually “created” their outline for what was to become Stranger Things.
7    Shortly thereafter, the Duffer Brothers created the pilot for Stranger Things, and in
8    March 2015, the show was sold to Netflix and distributed by the Netflix Entities. For
9    his part, Sims was hired to create the concept art for Stranger Things, Seasons 1 and 2.
10          8.   It is no small coincidence that Sims, who was given direct access to the
11   copyrighted Totem screenplays and was intimately involved in the development of the
12   story and the creation of concept art, went to work with the Duffer Brothers in 2013 and
13   that in that same year, the Duffer Brothers created Stranger Things, which incorporated
14   numerous protected elements from the Totem screenplays as well as from the concept
15   art.
16          9.   Plaintiff believes that Sims shared the copyrighted Totem screenplays and
17   related concept art with the Duffer Brothers, who then infringed on Plaintiff’s exclusive
18   rights in and to these protected works.
19          10. There are substantial similarities between the Totem copyrighted
20   screenplays and related concept art, on the one hand, and the television series Stranger
21   Things, on the other hand, in terms of characters, plot, sequence, themes, setting,
22   mood/tone, pace, and dialogue.
23          11. When Defendants realized they were producing a derivative work based on
24   the Totem copyrighted work, or at least were incorporating protected elements from the
25   screenplays and concept art, they were obligated to obtain a license from Plaintiff, the
26   owner of the Totem copyrighted works, and to give credit to Kennedy as the author of
27   the Totem screenplays and concept art.
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 1         12. Instead, Defendants did nothing, necessitating the filing of this action to
 2   vindicate Plaintiff’s rights and to prevent Defendants from exploiting those rights
 3   without just compensation and due creative credit.
 4                                          THE PARTIES
 5         13. Plaintiff IRISH ROVER ENTERTAINMENT, LLC (hereafter, “Plaintiff”)
 6   is, and at all times mentioned herein was, a California limited liability company with its
 7   principal place of business in the County of Los Angeles, State of California. Plaintiff’s
 8   Managing Member is Jeffrey Kennedy, the author of the Totem copyrighted
 9   screenplays.
10         14. Upon information and belief, Defendant AARON SIMS (hereafter, “Sims”)
11   is, and at all times mentioned herein was, an individual residing in the County of Los
12   Angeles, State of California
13         15. Upon information and belief, Defendant MATT DUFFER (hereafter, “M.
14   Duffer”) is, and at all times mentioned herein was, an individual residing in the County
15   of Los Angeles, State of California.
16         16. Upon information and belief, Plaintiff ROSS DUFFER (hereafter, “R.
17   Duffer”) is, and at all times mentioned herein was, an individual residing in the County
18   of Los Angeles, State of California.
19         17. Defendants M. Duffer and R. Duffer are sometimes referred to collectively
20   herein as the “Duffer Brothers”.
21         18. Upon information and belief, Defendant NETFLIX, INC. (hereafter,
22   “Netflix”) is, and at all times mentioned herein was, a corporation organized under the
23   laws of the State of Delaware and authorized to transact business in the County of Los
24   Angeles, State of California.
25         19. Upon information and belief, Defendant NETFLIX STREAMING
26   SERVICES, INC. (hereafter, “NSSI”) is, and at all times mentioned herein was, a
27   corporation organized under the laws of the State of Delaware and authorized to transact
28   business in the State of California.
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 1         20. Netflix and NSSI are sometimes referred to collectively as the “Netflix
 2   Entities”.
 3         21. Upon information and belief, Defendant 21 LAPS, INC. (“21 Laps”) is, and
 4   at all times mentioned herein was, a California corporation with its principal place of
 5   business in the County of Los Angeles, State of California.
 6         22. The true names, identities and capacities, whether individual, corporate,
 7   associate or otherwise, of defendants Does 1 through 50 are unknown to Plaintiff at this
 8   time, who therefore sues said defendants by such fictitious names pursuant to California
 9   Code of Civil Procedure Section 474. Upon ascertaining the true and correct names,
10   titles, capacities and/or identities of the defendants designated herein as Does, Plaintiff
11   will amend this Complaint accordingly. Does 1 through 50 are sometimes referred to
12   collectively herein as “Defendants”.
13         23. Plaintiff is informed and believes, and thereon alleges, that each of the
14   Defendants herein, however designated, whether by real or fictitious name, were and
15   are in some manner responsible for the events, happenings, occurrences, and
16   instrumentalities upon and about which complaint is hereinafter made.
17         24. Plaintiff is further informed and believes, and thereon alleges, that each of
18   the Defendants herein, whether designated by real or fictitious names, are, and at all
19   times relevant hereto, were, the agent, servant, employee and hireling of each of the
20   Defendants and in doing the things and acts herein alleged and complained of or in
21   failing to do that which they should have done, were acting within the course and scope
22   of such employment, agency and hiring with the full knowledge, consent, approval and
23   ratification of each of the other Defendants.
24                              JURISDICTION AND VENUE
25         25. This is a civil action seeking damages and declaratory and injunctive relief
26   for copyright infringement arising under 17 U.S.C. section 101 et seq.
27   ///
28   ///
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 1         26. This Court has original subject matter jurisdiction over this action under 28
 2   U.S.C. §1331 and § 1338(a), as this action asserts copyright claims arising under the
 3   laws of the United States.
 4         27. This Court has personal jurisdiction over Defendants because some or all
 5   of them reside in this state, and because all Defendants conduct continuous, systematic,
 6   and routine business within this state and this District.
 7         28. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391 and 1400 in
 8   that Plaintiff’s claims arose in this District and because Defendants reside or may be
 9   found in this District.
10                                           STANDING
11         29. Plaintiff has standing to bring this action as the current owner of the
12   copyrighted works upon which the claims in this action are based. More specifically,
13   Plaintiff is the assignee of the exclusive rights in and to the copyrighted works by virtue
14   an assignment of all rights from Jeffrey Kennedy, the author of the works.
15                                 GENERAL ALLEGATIONS
16         30. Plaintiff Irish Rover Entertainment, LLC (“Plaintiff”) is the exclusive
17   owner of all copyright rights in and to the following original screenplays:
18          Lightning Shower in Jackson Hole, Copyright Reg. No. Pau3-133-215
19             (6/19/07). A true and correct copy of this Copyright Registration Certificate
20             is attached as Exhibit “1”.
21          Chain of Being, Copyright Reg. No. Pau3-454-906 (5/1/08). A true and
22             correct copy of this Copyright Registration Certificate is attached as Exhibit
23             “2”.
24          Totem: The Story of a Wounded Warrior, Copyright Reg. No. Pau3-771-261
25             (3/19/2015). A true and correct copy of this Copyright Registration Certificate
26             is attached as Exhibit “3”.
27          Totem, Copyright Reg. No. TXu2-193-423 (5/6/20). A true and correct copy
28             of this Copyright Registration Certificate is attached as Exhibit “4”.
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 1         31. These screenplays collectively are referred to herein as the “Totem
 2   Screenplays”. Each of these screenplays constitute original works of authorship by
 3   Jeffrey Kennedy (hereafter, “Kennedy”). These artistic works represent a years-long
 4   progression and evolution of the same basic story, with each successive screenplay
 5   building upon the prior version. Kennedy also registered many of these screenplays with
 6   the Writers Guild of America.
 7         32. In addition to the Totem Screenplays, Plaintiff also is the owner of the
 8   copyright in and to certain concept art that was created by Defendant Aaron Sims for
 9   the Totem project. This concept art includes, without limitation, key art work,
10   promotional artwork, first class storyboards, creatures, visual effects, design and
11   creation of CGI characters, and at least one 3D test shoot (collectively, the “Totem
12   Concept Art”), for which Sims created the concept art and storyboard. Sims also worked
13   on the 3D test shoot, the effects, and the CGI character for the shoot.
14         33. The Totem Concept Art is registered as Copyright Reg. No. PA1-762-543
15   (12/27/10). A true and correct copy of the Copyright Registration Certificate is attached
16   hereto as Exhibit “5”.
17         34. For ease of reference, the Totem Screenplays and the Totem Concept Art
18   are sometimes collectively referred to herein as the “Totem Copyrighted Works”.
19         35. Plaintiff is the owner of all rights in the Totem Copyrighted Works, in all
20   of their original, unique, and protected permutations and derivations, and neither
21   Plaintiff nor Kennedy has ever assigned, licensed, or otherwise transferred the rights in
22   the Totem Copyrighted Works to any of the Defendants or, with the exception of
23   Kennedy’s assignments of rights to Plaintiff, to any other third party.
24         36. Kennedy was inspired to write and develop the screenplay Totem (f/k/a
25   Lightning Shower in Jackson Hole and Chain of Being) following the tragic death of
26   his childhood friend Clint Osthimer (hereafter, “Osthimer”).
27         37. Totem was based on Kennedy’s and Osthimer’s friendship growing up in
28   South Bend, Indiana during the 1980’s. Totem’s story takes place in the same type of
                                               6
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 1   everyday, middle class, rural town in which Kennedy and Osthimer grew up. As
 2   children, the two enjoyed spending time in nature, where, amongst many other
 3   adventures, Osthimer enjoyed jumping off cliffs into lakes. In this regard, Totem is an
 4   homage to Osthimer, to growing up in the 1980s’ rural Indiana, and to Kennedy’s and
 5   Osthimer’s love of the outdoors.
 6         38. Notably, from a very early age, Osthimer suffered from epilepsy. During
 7   their childhood together in rural Indiana, Osthimer and Kennedy dealt with the constant
 8   threat of Osthimer’s “personal demon”, epilepsy, which created “lightning showers” in
 9   his brain. Kennedy speculated that these lightning showers or seizures would send
10   Osthimer to an alternate supernatural plane where the demon resided.
11         39. Osthimer died on September 8, 2005 in a tragic car accident. Kennedy has
12   described in countless industry pitch meetings that the Totem story was born in the last
13   moment of Osthimer’s life—the moment he was hanging upside down in his vehicle
14   and journeyed to the alternative supernatural plane one final time to conquer his
15   personal demon.
16         40. A number of these ideas and elements were incorporated into the Totem
17   Copyrighted Works and were shared by Kennedy with Defendant Aaron Sims.
18   Attached hereto as Exhibit “6” is a document entitled “Totem: Indiana Backstory”,
19   which provides a few visual examples of how the Indiana backstory both strongly
20   influenced and was heavily incorporated into the Totem Copyrighted Works and
21   Stranger Things.
22         41. On or about March 23, 2007, Kennedy created a treatment for what later
23   was to become Totem. At that time, the working title for the project was “Lightning
24   Shower in Jackson Hole”. On or about June 19, 2007, Kennedy obtained a copyright
25   for the screenplay by this same name.
26         42. After further development of the screenplay on or about May 1, 2008,
27   Kennedy copyrighted the updated version with new working title Chain of Being.
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 1          43. On November 18, 2008, Kennedy, together with his partners Machiel
 2   Kennedy (also his father) and Charles Brink formed Irish Rover Entertainment, LLC,
 3   the plaintiff in this action.
 4          44. On or about February 4, 2009, Plaintiff entered into an agreement with
 5   Evergreen Films, Inc. (“Evergreen”) whereby Evergreen was to provide development
 6   services in relation to the project. Thereafter, in or around May 2009, Evergreen
 7   subcontracted concept artist Aaron Sims and The Aaron Sims Company to create key
 8   art work, promotional artwork, first class storyboards, creatures, visual effects, design
 9   and creation of CGI characters, and work on at least one 3D test shoot for which Aaron
10   Sims did ultimately create the concept art, storyboard, CGI character, and visual effects.
11          45. Sims was provided with a copy of the copyrighted Chain of Being
12   screenplay and contributed to the project throughout the period 2009 and 2010. During
13   the period, Sims was privy to Kennedy’s marketing pitch, participated in producer note
14   sessions, was privy to Kennedy’s casting choices, was provided with Kennedy’s designs
15   and physical drawings of set pieces, and was provided with photographs showcasing
16   the project’s visual imagery.
17          46. In or around June 2009, Kennedy provided Sims with a folder containing
18   photos to showcase imagery as well as a drawing of the layout of the backyard for
19   Jackson and Autumn Chance’s home, which was based on Osthimer’s house in the
20   1980’s. Based on this, Sims provided the first round of the Totem Concept Art to
21   Plaintiff and Evergreen in July 2009 and continued to provide weekly updates for, and
22   revisions to, the Totem Concept Art.
23          47. In or around August 2009, Kennedy met with Sims and John Norris
24   (hereafter, “Norris”), Sims’ producing partner and employee, during which they
25   discussed script notes and Kennedy disclosed detailed information regarding the
26   background for his screenplay, Kennedy’s and Osthimer’s full backstory, including the
27   backdrop he wanted to showcase for the project (i.e., similar to South Bend, Indiana but
28   set in a grander outdoor setting).
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 1         48. In January 2010, Kennedy completed further revisions to the screenplay,
 2   now titled Totem, based on development notes he received from his meetings with Sims
 3   and others. Between January and July of 2010, Sims finalized the concept art,
 4   storyboards, and live action demo while Kennedy, Sims, and Norris continued to
 5   discuss story ideas, Kennedy’s backstory, and the script. Kennedy subsequently
 6   copyrighted the live action demo and concept art created by Sims on or about December
 7   27, 2010. (See Exhibit “5”.)
 8         49. Importantly, throughout Totem’s script development, including multiple
 9   revisions of the screenplay, Kennedy developed and worked with a significant number
10   of story ideas and concepts, all of which he shared with Sims and all of which are
11   included in the various copyrighted versions of the Totem Screenplays.
12         50. In or around August 2010, Plaintiff ended its business relationship with
13   Evergreen. Following Plaintiff’s termination of Evergreen, Kennedy continued to meet
14   with and correspond with Sims and Norris regarding the Totem project and continued
15   to provide Sims with updated versions of the screenplay. Impressed with Sims’ talent
16   and vision, Kennedy also offered Sims the opportunity to direct Totem and to co-
17   produce it with Kennedy and Norris.
18         51. During the Summer of 2011, Kennedy met with Sims to discuss the most
19   recent version of the screenplay. In November 2011, Kennedy further revised the Totem
20   screenplay while continuing to raise funding and partnerships for the project. He also
21   continued to revise the screenplay in 2012 and 2013.
22         52. In the Spring of 2013, Kennedy provided the latest version of the Totem
23   screenplay to Sims. This version incorporated the various concepts, ideas, and elements
24   that Kennedy had developed over the preceding several years, including the concepts,
25   ideas, and elements created during the years that he had worked closely with Sims. A
26   true and correct copy of the 2013 version of the Totem screenplay is attached as Exhibit
27   “7” and is the version that was registered with the copyright office as Copyright Reg.
28   No. TXu2-193-423, i.e., Exhibit “4”.
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 1         53. Plaintiff is informed and believes, and thereon alleges, that in the Fall of
 2   2013, Warner Brothers Studios hired Sims to assist the Duffer Brothers with the motion
 3   picture Hidden, which they had written and were directing. This was the first time Sims
 4   met the Duffer Brothers. In an interview entitled, “Making the Monster with Aaron
 5   Sims”, Sims confirmed that he first met the Duffer Brothers when he worked with them
 6   on Hidden.
 7         54. Plaintiff is informed and believes, and thereon alleges, that after Hidden
 8   wrapped in 2013, the Duffer Brothers began development of a skeleton outline for the
 9   precursor to Stranger Things, which at that time was titled The Montauk Experiment. A
10   version of the outline was completed in October 2013, and a close review of the outline
11   reveals that the Duffer Brothers had incorporated numerous elements from Totem.
12         55. Plaintiff is informed and believes, and thereon alleges that before teaming
13   up with Sims in 2013, and before drafting the skeleton outline in October 2013, the
14   Duffer Brothers had not created any original content for what later would become
15   Stranger Things. This is consistent with sworn declarations the Duffer Brothers
16   submitted in connection with prior litigation involving Stranger Things, i.e., Kessler v.
17   Duffer et al., LASC Case No. BC700197. In these declarations, the Duffer Brothers
18   contend that in November 2010, they exchanged emails about several film projects,
19   including one they called “The Montauk Experiments”, which “reflected elements of
20   the Montauk Urban Legends”. A true and accurate copy of these declarations are
21   attached here to as Exhibit “8”.
22         56. However, a review of the Duffer Brothers’ emails reveals that they do not
23   contain any original ideas; instead, these emails simply summarize information
24   regarding Preston Nichols’ book “The Montauk Project: Experiments in Time”. The
25   ideas that the Duffer Brothers claim are their own original ideas, and which they claim
26   they developed in November 2010, actually come directly from the Nichols book.
27   Moreover, Matt Duffer’s November 23, 2010 email suggests that their idea was to create
28   a “gritty and intensely realistic found footage presentation of the lost film, following
                                            10
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 1   the experiments from their inception to blood-soaked finale.” See Exhibit “8” (and
 2   attached 11/19/10 and 11/23/10 emails attached thereto). This has absolutely nothing in
 3   common with—and shares no elements with—Stranger Things.
 4          57. Even more telling is that the sworn Declarations do not include evidence
 5   of, or reference to, any efforts by the Duffer Brothers to develop their “Montauk
 6   Experiments” concept throughout the period November 2010 through October 2013.
 7   Notably, at a May 2019 Closing Convocation Speech at Chapman University, Ross
 8   Duffer recounted how he and his brother were “crushed” when Warner Brothers
 9   “dumped” Hidden, which went “straight to video” in 2013. He said they decided in 2013
10   to “pretend we knew how to write television” and then decided to “create our own
11   show”, i.e., Stranger Things.
12          58. This is consistent with the timing of the skeleton outline from October 2013,
13   which is attached to the Duffer Brothers’ sworn Declarations in the Kessler case—and
14   it suggests that they came up with Stranger Things in 2013, not November 2010, and
15   only after they met Sims, who by that time had been working on Totem with Kennedy
16   for years, had received numerous versions of the Totem screenplay, and was intimately
17   familiar with the Totem story, having worked with Kennedy on the script and concept
18   art.
19          59. After Hidden, Sims and the Duffer Brothers teamed up again on the show
20   Wayward Pines, with Sims serving as a concept artist.
21          60. In or around March 2015, the Duffer Brothers met with the Netflix Entities
22   and sold Stranger Things with a look book, pilot script, teaser trailer, and endorsement
23   from Shawn Levy of Defendant 21 Laps Entertainment.
24          61. Stranger Things went straight-to-series, and Aaron Sims Creative, Sims’s
25   company, was hired to develop the Stranger Things creatures and world. Within
26   approximately one years’ time, the Duffer Brothers wrote, directed, produced, edited,
27   cast, and distributed 8 single camera episodes of Stranger Things, when in the three
28   years between the time they claim to have developed their idea for Stranger Things until
                                             11
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 1   they met Sims in the fall of 2013, they had not taken any steps to develop Stranger
 2   Things.
 3           62. The first season of Stranger Things was released by the Netflix Entities on
 4   July 15, 2016. Sims was credited as one of the concept artists for the show.
 5           63. The second season of Stranger Things was released by the Netflix Entities
 6   on October 27, 2017. Again, Sims was credited as one of the concept artists for the
 7   show.
 8           64. The third season of Stranger Things was released by the Netflix Entities on
 9   July 4, 2019. A fourth season was announced in September 2019 and is expected to be
10   released in 2021.
11             ALLEGATIONS OF SUBSTANTIAL SIMILARITY BETWEEN
12                  TOTEM SCREENPLAYS AND STRANGER THINGS
13           65. There are substantial and articulable similarities between the protectable
14   elements in the Totem Screenplays and Stranger Things in terms of characters, plot,
15   sequence, themes, setting, mood/tone, pace, and dialogue. Moreover, there are
16   substantial similarities between the protectable elements in the Totem Concept Art
17   developed by Sims for Totem and the concept art that he went on to develop in
18   connection with Seasons 1 and 2 of Stranger Things.
19           66. The similarities between the television series Stranger Things and the
20   Totem Copyrighted Works are so substantial, and Defendants’ access to the Totem
21   Copyrighted Works so significant, that it seems unlikely that the former could possibly
22   have been created independently from the latter.
23                                             Characters
24        67.     Both Totem and Stranger Things utilize characters with remarkably similar
25   character traits and extremely similar relationships to each other.
26        68.      Every dynamic element within a story stems from character: action,
27   conflict, plot, escalating story structure, reversals, climax, and theme.
28
                                             12
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 1        69.    Specifically, a character nurses a primary wound and builds an emotional
 2   armor around it. That creates a personality with emotional limitations and unconscious
 3   needs. Unconscious needs manifest as conscious desire. Conscious desire to be, do, or
 4   have something creates an emotionally challenging decision which, when made, leads
 5   to an action that creates a reaction from an antagonist. Protagonist action and antagonist
 6   reaction escalating back and forth creates a conflict which becomes plot. Escalating
 7   emotionally challenging decisions of the protagonist (or it could be characters that the
 8   protagonist influences) creates story structure. Ultimately, the character has to cognize,
 9   accept, and dissolve the limitation of emotional armor in order to achieve the goal. That
10   dissolution of limitation results in the story’s theme.
11         70. In comparing characters between Totem and Stranger Things, it is
12   necessary to look at character qualities and behaviors. Archetypes are story functions
13   and can change from character to character. Just so, character tendencies and behaviors
14   can be represented by different archetypal functions (protagonist, antagonist, ally,
15   mentor, conscience character, tempter character, skeptic, shapeshifter, love interest,
16   child archetype, etc.) in a remodeling of the same story.
17         71. As a result of the combination of extremely similar characters and
18   extremely similar character archetypes, Totem and Stranger Things manifest extremely
19   similar plots and themes (as detailed below). More specifically, there are nine (9)
20   character comparisons in the primary story line of both projects that parallel each other,
21   which are discussed more fully below. Note, this is not an exhaustive comparison of the
22   similarities between the characters in the two stories:
23
24                     Totem                                     Stranger Things

25    Jackson Chance                              Joyce Byers
26    Jackson Chance (hereafter, “Jackson”) is    Joyce Byers (hereafter, “Joyce”) is the
      the strong-willed protagonist, or story     strong-willed protagonist, or story driver,
27
      driver, of the screenplay Totem. Jackson    of Stranger Things. She initiates and
28    believes his wife Autumn Chance was         sustains an obsessive search for her son
                                             13
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 1    alive and taken by Azrael when no one        Will Byers (hereafter, “Will”), in the face
      else believed him. He is considered          of great resistance from everyone around
 2    borderline psychotic and is treated as       her. She is considered borderline
 3    such     by    medical     professionals,    psychotic and is treated as such by
      authorities, and friends. Jackson also       friends, family, and acquaintances. Joyce
 4
      experiences resistance from FBI Agent        also experiences resistance from Dr.
 5    Sam Miller who has something to hide         Martin Brenner and his subordinates who
 6    about his relationship with Autumn.          would rather keep the existence of the
      Jackson’s quest to find Autumn is fueled     Upside Down a secret. Joyce’s quest to
 7    by his unconditional spousal love for her.   find Will is fueled by her unconditional
 8                                                 motherly love for him.
 9
      His belief leads him on a desperate          Her belief leads her on a desperate search
10    search for Autumn and ultimately into        for Will and ultimately into the alternate
11    the alternate plane. In the process, he      plane. In the process, she uses Will’s
      scatters sketches all over his family room   drawings to find answers.
12    to find answers.
13
      Dr. William Nerowe                           Jim Hopper
14
      Dr. William Nerowe (hereafter,               Jim Hopper (hereafter, “Hopper”) is a
15    “Nerowe”) is a long-time friend of           long-time friend of Joyce’s and also the
16    Jackson’s and is also his doctor. He has     Chief of Police of Hawkins. He has great
      great affection for Jackson and that         affection for Joyce, yet he knows that she
17
      affection involves concern for him.          can be neurotic at times. When Joyce
18    Jackson has seizures as a result of his      approaches him with the concern that her
19    time spent in the Navy, which results in     son Will is missing, he blows her off.
      PTSD. When Jackson approaches                Once he becomes convinced that Will is
20    Nerowe to convince him that Autumn is        still alive despite Will’s funeral and is in
21    still alive, Nerowe grows concerned for      great danger, he joins Joyce in her quest.
      Jackson’s mental stability. Over time, he    He experiences resistance from his co-
22
      becomes convinced that, although there       workers and others who believe that Will
23    has been a funeral for Autumn, she needs     is dead. He and Joyce also experience
24    to be rescued from wherever she is. He       resistance from Federal Authorities who
      joins Jackson in his quest even though       have something to hide. In the process of
25    they experience resistance from FBI          assisting Joyce on her improbable quest,
26    Agent Sam Miller who has something to        Hopper resolves his depression and
27    hide. In the process of assisting Jackson    addictive behavior.
      on his improbable quest, Nerowe saves
28    himself from his own cancer and other
                                             14
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 1    afflictions.

 2    Autumn Chance                                Will Byers
 3    Autumn Chance can see the alternate          Will can see the earthly plane. However,
      plane during her spells. She uses            during his “spells/seizures”, he can also
 4
      drawings as a way of communicating           see the alternate supernatural plane. He
 5    what she sees in the alternate               uses drawings as a way of communicating
 6    supernatural plane to the inhabitants of     what he sees in the alternate supernatural
      the earthly plane. Azrael abducts her        plane to the inhabitants of the earthly
 7    from the shed and makes her a Grim.          plane. In Season 1, Will was abducted by
 8    Autumn Chance is artistic and draws her      the Demogorgon from the shed and in
      visions and dreams. She was physically       Season 2 the Shadow Monster takes hold
 9
      and emotionally abused as a child by the     of Will. He was emotionally abused by
10    caretakers at Evergreen Orphanage.           his father in early childhood. He
11    When she is considered dead, a funeral is    disappears and is considered dead. A
      held for her. Autumn is the motive for       funeral is held for him. He is the motive
12
      Jackson’s quest to reunite with her at all   for Joyce’s quest to reunite with him at all
13    cost.                                        cost.
14    Kimimela                                     Eleven
15    Kimimela (hereafter, “Kimi”) is a ten-       Eleven is a twelve-year-old girl, yet she is
16    year-old girl, yet she is an old soul who    an old soul who functions (perceives)
      functions well beyond her age. She has       well beyond her age. She has great
17
      great spiritual powers. She is revered by    psionic       powers       (psychokinetic,
18    those around her. She is the heart of the    telepathic, and remote viewing). She is
19    Lynx tribe. She is responsible for the       responsible for opening the ‘Gate’ that
      creation of a gateway that allows Azrael,    allows      the     Demogorgon/Shadow
20    a demon entity, to enter this world. Her     Monster/Mind Flayer to enter this world.
21    death would result in allowing Azrael to     Her death would result in allowing the
      destroy humankind. She is wounded            Shadow Monster/Mind Flayer to destroy
22
      during the climax but convinces Nerowe       humankind. In Season 1, she obliterates a
23    that only he can destroy Azrael, which he    Demogorgon. In Season 2, with the help
24    does.                                        of Hopper, she banishes the Shadow
                                                   Monster/Mind Flayer by closing the gate.
25
                                                   In Season 3, she is wounded near the
26                                                 climax, but convinces Billy Hargrove to
27                                                 stand against the Shadow Monster/Mind
                                                   Flayer, which gives Joyce and Hopper
28                                                 time to close the gate and again defeat the
                                             15
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 1                                                  Shadow Monster/Mind Flayer.

 2    Thunderbear                                   Mike Wheeler
 3    In Totem, Thunderbear is the Shaman           In Stranger Things, Mike Wheeler is the
      and unofficial chief of the Lynx tribe. He    unofficial leader of the group of boys that
 4
      is also Kimi’s protector and father figure.   Will belongs to, the group of boys that
 5    He is willing to sacrifice his life to save   finds Eleven in the woods. Mike is
 6    Kimi from harm.                               Eleven’s protector and future heartthrob.
                                                    He puts himself in harm’s way to save
 7                                                  Eleven from danger.
 8
      FBI Agent Sam Miller                          Billy Hargrove
 9
      In Totem, FBI Agent Sam Miller is a           In Stranger Things, Billy Hargrove is a
10    secondary antagonist to the cohesion          secondary antagonist to the cohesion of
      between Jackson and Nerowe in their           the group fighting the Shadow
11
      quest to save Autumn. Sam, having been        Monster/Mind Flayer. Billy, having been
12    bullied as a child, feels that the world is   bullied as a child, feels that the world is
      against him and he must protect himself       against him and he must protect himself
13
      by playing the bully including                by playing the bully including threatening
14    threatening a child. A part of his bullying   his young sister and her friends. A part of
      persona is that he is prejudiced against      that bullying persona is that he is
15
      Native Americans. For instance, Sam           prejudiced against Blacks. Several times
16    says to the totem pole: “Stupid Injun         in Season 2, he threatens Max for
      stick! I hate you! Retarded Injuns! I will    befriending Lucas Sinclair, who is Black.
17
      find you!” (Exhibit “7” at page 41.)          In Episode 4, Billy, referring to Lucas,
18                                                  verbally and physically threatens Max:
19                                                  “There’s a certain type of people in this
                                                    world that you stay away from, and that
20                                                  kid, Max, that kid is one of them.” In
21                                                  Episode 5, he confronts her again for
                                                    hanging out with Lucas.
22
      Sam has a car accident in an industrial       Billy has a car accident in an industrial
23    area and is captured by the monster           area and is captured by the Mind Flayer.
24    Azrael, who forces Sam to do his bidding      The Mind Flayer forces Billy to do his
      in his quest to destroy Kimi. Sam kills       bidding in its quest to destroy Eleven.
25    humans whose souls are imprisoned by          Billy kills humans whose souls are
26    Azrael. He wounds Kimi and                    absorbed by the Mind Flayer. He abducts
      incapacitates her, but ultimately meets       the wounded Eleven, but ultimately meets
27    his demise as a result.                       his demise as a result of Eleven’s
28                                                  persuasion.
                                             16
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 1    Sam helps Azrael capture and take             Billy helps the Shadow Monster/Mind
      possession of human souls in the earthly      Flayer capture and take possession of
 2    plane      which     are  then    called      human souls in the earthly plane, which
 3    Grims/Watchers. Sam and Azrael pursue         are then called “The Flayed”. Billy and
      Kimi and her friends to a cave, where a       the Shadow Monster pursue Eleven and
 4    final battle ensues.                          her friends to a mall, where a final battle
 5                                                  ensues.

 6    Agent Cho                                     Flo

 7    Agent Cho is FBI Agent Sam Miller’s           Flo is Jim Hopper’s office manager at the
      superior. She radios directives to him        police station. She radios directives to
 8    while he is out in the field on duty. She     him while he is out in the field on duty.
 9    chastises him when he steps out of line.      She chastises him for his eating and
                                                    smoking habits.
10
      Azrael                                        Shadow Monster/Mind Flayer
11
      In Totem, Azrael is the evil figure that is   In Stranger Things, the Shadow
12
      released from the carbon-copy alternate       Monster/Mind Flayer is a figure of pure
13    supernatural dimension as a result of a       evil that is released from the alternate
      totem gift shared by Kimi. Azrael’s goal      supernatural dimension as a result of a
14
      is to enslave and rule humanity. He does      burst of energy from Eleven that ruptures
15    that by directing his Blackwolf Indian        the “veil” between two dimensions. The
      minions to kill humans and he imprisons
16                                                  Shadow Monster’s goal is to enslave
      their souls in a cloak of purple feathers
                                                    humanity. It does that by directing its
17    thereby trapping them in a limbo and
      turning them into Grims/Watchers. He          Demogorgon minions (a/k/a Demo-Dogs)
18                                                  to abduct or consume humans and take
      must kill Kimi, the External Light of
19    creation and the only one that can defeat     them to the Upside Down (alternate
      him, in order to fulfill this quest.          dimension). It must kill Eleven, the only
20
                                                    one with power greater than its power, in
21                                                  order to fulfill its quest.
22
23    Azrael has multiple appendages and            The Shadow Monster has multiple
24    often appears surrounded by lightning, as     appendages and often appears surrounded
      his powers are connected to electricity,      by lightning, as its powers are connected
25    and lightning storms are used as a            to electricity, and lightning storms are
26    symbolic device to announce Azrael.           used as a symbolic device to announce the
      Azrael enters the earthly plane through a     Shadow Monster. The Shadow Monster
27    portal in a cave.                             enters the earthly plane through a portal
28                                                  under the Hawkins Laboratory.
                                             17
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 1    Azrael takes possession of human souls.     The Shadow Monster/Mind Flayer takes
      These captured human souls under            possession of human souls.        These
 2    Azrael’s      control     are    called     captured human souls under the Shadow
 3    Grims/Watchers.                             Monster/Mind Flayer’s control are called
                                                  “The Flayed”.
 4
 5
      Blackwolf Indians/Black Wolves              Demogorgons/Demo-Dogs
 6
      In Totem, Azrael uses a hive-mind army      In Stranger Things, the Shadow
 7    of supernatural creatures called            Monster/Mind Flayer uses a hive-mind
 8    Blackwolf Indians to do his bidding. The    army of supernatural creatures called
      Blackwolf come from an alternate            Demogorgon to do his bidding. The
 9
      supernatural plane. The Blackwolf           Demogorgon come from an alternate
10    Indians/Black Wolves shape-shift back       supernatural plane. They shape-shift back
11    and forth from two-legged, upright          and forth from two-legged, upright
      beings to four-legged Black Wolves.         humanoid monsters to four-legged Demo-
12                                                Dogs.
13
14                                             Plot
15         72. Totem and Stranger Things share an overwhelming number of concrete plot
16   elements that render the two works substantially similar. Stripping away secondary
17   characters and plot lines necessary to expand the Stranger Things series into multiple
18   episodes and seasons, the core plots of both stories parallel each other.
19         73. Both Totem and Stranger Things revolve around the respective
20   protagonists’ quests—Jackson in Totem and Joyce in Stranger Things—to rescue a
21   loved one from having been abducted by a monster and carried to an alternate dimension
22   that is a dark copy of their current reality. The respective monsters and shapeshifting
23   minions oppose that quest.
24         74. In both projects, a pubescent girl—ten-year-old Kimi in Totem and twelve-
25   year-old Eleven in Stranger Things—is responsible for the rupture in the “veil” between
26   the human dimension and a dark, carbon-copy alternate dimension through which a
27   monster is able to invade the current human reality.
28         75. In both projects, the hook of the respective plots relies on the conceit that
                                             18
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 1   there is an independent agency of evil that wishes to destroy humanity, and to defeat
 2   this evil all humanity must rely on the power of this single pubescent girl to close the
 3   rupture, one acting directly and the other acting through the agency of another character.
 4         76. In Totem, Kimi, imbued with great spiritual powers, allows a totem to be
 5   removed from its watery tomb and planted (grounded) in such a way that it opens a
 6   gateway between this dimension and an alternate dark dimension. This creates a
 7   gateway between the two dimensions through which a powerful monster (Azrael) and
 8   its minions (Blackwolf Indians/Black Wolves) enter into the dimension to prey upon
 9   humans.
10         77. In Stranger Things, Season 1, Eleven, imbued with great psionic powers,
11   ruptures the veil between this dimension and an alternate dark dimension. This creates
12   a gateway between the two dimensions through which a powerful monster (Shadow
13   Monster/Mind Flayer) and its minions (Demogorgons/Demo-Dogs) are released into
14   the human dimension to prey upon humans.
15         78. In Totem, Azrael abducts Autumn from the tool shed in the Chance’s back
16   yard and imprisons her in the dark, alternate dimension, a reflected copy of the human
17   dimension. Her disappearance motivates Jackson, her husband, to go on an obsessive
18   quest to bring his wife back.
19         79. In Stranger Things, the Demogorgon/Shadow Monster abducts Will, a 12-
20   year-old boy, from the tool shed in the Byers’ back yard and imprisons him in the dark,
21   alternate dimension, a reflected copy of the human dimension. Will’s disappearance
22   motivates Joyce, his mother, to go on an obsessive quest to bring her son back.
23         80. In Totem, acquaintances consider Jackson to be mentally unbalanced,
24   including Nerowe, Jackson’s doctor and his long-time friend. Similarly, in Stranger
25   Things, acquaintances consider Joyce to be mentally unbalanced, including Hopper, the
26   Chief of Police and Joyce’s long-time friend. In Totem, Nerowe ultimately resolves his
27   skepticism and becomes convinced that something strange regarding Autumn’s
28   seeming death is happening. Despite the funeral held for Autumn, Nerowe feels he must
                                             19
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 1   assist Jackson in his quest to find her. Similarly, in Stranger Things, Hopper ultimately
 2   resolves his skepticism and becomes convinced that something strange regarding Will’s
 3   seeming death is happening. Despite the funeral held for Will, Hopper feels he must
 4   assist Joyce in her quest to find him.
 5          81. In Totem, Jackson and Nerowe enlist Kimi and her protector, Thunderbear,
 6   to help them. Kimi is able to guide Jackson and Nerowe to Autumn in the carbon copy
 7   alternate dimension. Similarly, in Stranger Things, Joyce and Hopper enlist Eleven and
 8   her protector, Mike Wheeler, to help them. Eleven is able to guide Joyce and Hopper to
 9   Will in the carbon copy alternate dimension (Season 1, Episode 7).
10          82. As noted above with respect to the similarities between characters,
11   character traits and actions can be attributed to any archetype that serves the story. In
12   Totem, Jackson, the protagonist archetype, or story-driver, is afflicted with seizures that
13   give him visions of the alternate dimension, carbon-copy world. In Stranger Things,
14   Season 2, this character trait of seizures and visions of evil is attributed to Will, the child
15   archetype, as a motive for the protagonist archetype, Joyce, to continue her quest to save
16   her son.
17          83. In both projects, the device of seizures is used to reveal the other-worldly
18   danger that threatens the human race. Because of the monster’s relationship to Will in
19   Season 1, a twist is created in the final sequence of Season 1 to allow the Shadow
20   Monster to obtain control over Will and make him its “spy”. As it gains more influence
21   over him, Will, like Jackson in Totem, has seizures that give him visions of the alternate-
22   dimensional world.
23          84. Joyce becomes aware of Will’s possession and seeks to resolve Will’s
24   seizures and vows to protect him, just as Autumn seeks to protect Jackson in Totem.
25   The respective vows to protect taken by Autumn in Totem and Joyce in Stranger Things
26   are a mirror of each other in that while the vows are exactly the same between the two
27   codependent relationships, the archetypes are reversed.
28
                                              20
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 1         85. In Totem, Jackson and Nerowe use Autumn’s drawings from a dream to
 2   locate “a dark, bluish toned cavern” in the alternate dimension that leads to Azrael’s
 3   “vast, cavernous, brimstone sanctuary”. (Exhibit “7” at page 110.) Similarly, in
 4   Stranger Things, Season 2, Joyce and friends use Will’s drawings of his visions to locate
 5   a maze of dark bluish tunnels in the alternate dimension that lead to the Shadow
 6   Monster’s central mind from which it controls its Demogorgon/Demo-Dog minions.
 7         86. In Totem, by using a sweat lodge, a cancer (physical manifestation of
 8   disbelief, alluding to theme) is sweat out of from Nerowe’s body which allows him to
 9   fully embrace Jackson’s quest to free Autumn from Azrael’s clutches. They elude the
10   attacking army of Blackwolf Indians/Black Wolves and uproot the grounded totem
11   thereby closing the gateway to Azrael’s alternate dimension. Similarly, in Stranger
12   Things, Season 2, Episode 9, by using a makeshift sweat lodge (in a cabin), Joyce and
13   friends are able to free Will from the Shadow Monster’s possession (a result of disbelief
14   in self, alluding to theme) by sweating it out of his body. They elude the attacking army
15   of Demogorgons/Demo-Dogs. Eleven closes the gate to the Upside Down, which ends
16   the Shadow Monster’s threat to humanity.
17         87. In Stranger Things, Season 3, the monster finds its way back into the human
18   dimension once again because that’s the core of the entire series if it is to sustain its
19   status as supernatural horror. Eleven closes the gate to the monster’s dimension at the
20   end of Season 2, so the series must reopen it and unleash the monster yet once again in
21   order to have a third season.
22         88. The core of the entire Stranger Things series is the monster’s need to kill
23   the only thing that can destroy it, which is Eleven. To accomplish this, Stranger Things
24   introduces psychopathic Russians in Season 3 to replace the psychopathic scientists in
25   Seasons 1 and 2. They reopen the gate to the dark, alternate dimension, and release the
26   Shadow Monster/Mind Flayer. They dress the season up and disguise it with new
27   characters and new settings, but the dance between monster (Shadow Monster/Mind
28   Flayer) and monster slayer (Eleven) is the same dance that happens between Azrael, the
                                            21
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 1   monster, and Kimi, the monster slayer.
 2         89.    In Totem, FBI Agent Sam Miller, a bully character, crashes his car in an
 3   industrial area. Azrael then overwhelms Sam and forces him to do its bidding, the
 4   primary objective being to kill Kimi and her friends. Sam helps Azrael capture and take
 5   possession of human souls in the earthly plane which are then called Grims/Watchers.
 6   (Exhibit “7” at page 48.) Similarly, in Stranger Things, Billy Hargrove, a bully character
 7   introduced in Season 2, crashes his car in an industrial area in Season 3, Episode 1. The
 8   Shadow Monster/Mind Flayer then overwhelms Billy and forces him to do its bidding,
 9   the primary objective being to kill Eleven and her friends. This becomes a driving plot
10   point for Season 3. Billy helps the Shadow Monster/Mind Flayer capture and take
11   possession of human souls in the earthly plane which are then called “The Flayed”.
12         90.    In Totem, Thunderbear and Sam face off with each other. Thunderbear tries
13   to stop Sam and fails. Sam shoots and kills Thunderbear. Similarly, in Stranger Things,
14   Mike and Billy face off with each other. Mike tries to stop Billy and fails. Billy knocks
15   him out.
16         91.    In Totem, Sam, Azrael, and minions pursue Jackson, Nerowe, and Kimi,
17   ultimately arriving at a cave in the Valley of Death (synonymous with the tool shed in
18   the human dimension), where the final battle ensues. Wounded, Kimi encourages
19   Nerowe to rise up against Azrael. Nerowe destroys Azrael’s totem as a result of Kimi’s
20   influence. Sam is killed in the final battle. Similarly, in Stranger Things, Billy and the
21   Mind Flayer pursue Eleven and her friends to a mall where a final battle ensues.
22   Wounded, Eleven encourages Billy to rise up against the Mind Flayer. Billy turns
23   against the Mind Flayer as a result of Eleven’s influence. Eleven’s friends distract the
24   Mind Flayer long enough to give Joyce and Hopper time to close the gate which defeats
25   the Shadow Monster/Mind Flayer. Billy is killed in the final battle.
26         92.    When comparing the core elements regarding the human-versus-monster
27   battle of the series Stranger Things with the Totem Screenplays, the central through-
28   line of both stories is substantially similar.
                                              22
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 1                                              Sequence
 2         93. At their respective cores, both Totem and Stranger Things, share a
 3   significantly similar sequence of events. A multi-season series such as Stranger Things
 4   has to add secondary and tertiary plots and characters in order to extend the broadcast
 5   time, but once these secondary and tertiary elements are peeled away, the through-line
 6   is significantly similar to Totem.
 7         a. In both projects, a young girl, Kimi in Totem and Eleven in Stranger Things,
 8             helps to create a gateway to an alternate universe/dimension.
 9         b. In both projects, a powerful monster—Azrael in Totem and Shadow
10             Monster/Mind Flayer in Stranger Things—and its minions, Blackwolf
11             Indians/Black Wolves and Demogorgons/Demo-Dogs, respectively, are
12             released into this dimension to prey upon humans;
13         c. In both projects, the monster abducts someone from a shed in the back yard—
14             Autumn in Totem and Will in Stranger Things—and carries them into the
15             alternate carbon-copy dimension, which motivates the protagonist (and close
16             family members of the abducted characters) of the respective stories, Jackson
17             in Totem and Joyce Byers in Stranger Things, to go on an obsessive quest to
18             bring their loved one back;
19         d. In both projects, after overcoming the stigma of alleged mental disorder, the
20             protagonist—Jackson in Totem and Joyce Byers in Stranger Things—enlists
21             an ally, William Nerowe in Totem and Jim Hopper in Stranger Things, who
22             is initially skeptical and does not believe that Autumn / Will is alive, but start
23             to believe them and then joins their quest to find and save their loved one;
24         e. In both projects, the monster conspires to destroy the young girl—Kimi in
25             Totem and Eleven in Stranger Things—in order to keep the gateway between
26             the two dimensions open;
27         f. In both projects, the monster is assisted by a human they enslave after a car
28             accident at an industrial site—Agent Sam Miller in Totem and Billy Hargrove
                                             23
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 1              in Stranger Things—and the enslaved human is ultimately destroyed;
 2         g. In both projects, the gateway is closed with the ally’s assistance. In Totem,
 3              this is accomplished by Nerowe and Kimi. In Stranger Things, Season 2, this
 4              is accomplished by Hopper and Eleven and in Stranger Things, Season 3, this
 5              is accomplished by Hopper and Joyce; and
 6         h. In both projects, as a result of the closed gateway, the monster ceases its
 7              activities in the human world.
 8                                           Themes
 9        94.     There are two aspects to the subject of theme. First, there are universal
10   thematic topics that conceptualize the nature of the story itself. Second, there is the
11   moral, ethical thematic arc that is implied by the emotional journey the main character
12   (often the protagonist) takes leading to the resolution of some flaw or value out of
13   balance in that character.
14        95.     In both Totem and Stranger Things, various universal thematic subjects are
15   present, subjects such as unconditional love, death of a close family member, mental
16   illness, dreams and visions, family, power and corruption, courage and heroism, facing
17   darkness, epilepsy and seizures, female roles with supernatural powers, reuniting with
18   loved ones, man versus supernatural, etc. These themes exist in both projects in the
19   following substantially similar ways:
20
                        Totem                                 Stranger Things
21
      Unconditional Love:
22
      In Totem, Jackson’s love for his wife       In Stranger Things, Joyce Byers’ love for
23
      Autumn drives him to undertake a            her son Will Byers takes her on a perilous
24    perilous quest into the alternate           quest into the alternate supernatural plane
25    supernatural plane to uncover the mystery   to uncover the mystery behind his
      behind her disappearance and to rescue      disappearance and to rescue him.
26    her.
27
28
                                             24
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 1    Death of a Close Family Member

 2    In Totem, Autumn appears to have died as    In Stranger Things, a body assumed to be
      a result of what appears to be a Black      Will’s is found. A funeral is performed,
 3    Wolf attack. A funeral is performed, and    and the body is buried. Each character
 4    the body is buried. Each character mourns   mourns Will’s death in their own manner
      Autumn’s death in their own manner and      and disbelieves Joyce when she refuses to
 5    disbelieves Jackson when he refuses to      embrace what seems to be the reality of
 6    accept her death as real.                   his death.

 7    In Totem, Nerowe appears to have died in    In Stranger Things, Will appears to have
      the alternate supernatural plane, but is    died in the alternate supernatural plane,
 8    miraculously brought back to life using     but is miraculously brought back to life
 9    mouth-to-mouth resuscitation.               using mouth-to-mouth resuscitation.

10    Mental Illness:
11    In Totem, Autumn Chance can see an          In Stranger Things, Will Byers can see an
12    alternate reflective dimension where a      alternate supernatural plane where a
13    powerful evil being (Azrael) exists with    powerful evil entity exists with designs on
      designs on destroying humanity. She is      destroying humanity. He is evaluated by
14    evaluated by members of the medical         medical professions and diagnosed as
15    profession and diagnosed as having a        having a mental illness. His mother Joyce
      mental illness. Because Jackson believes    believes that what Will sees is real, and
16
      that what Autumn sees is real, he also is   refuses to believe he has died, so she is
17    perceived as having a mental illness.       also perceived as having a mental illness.
18
      Dreams and Visions:
19
20    In Totem, dreams and visions reveal an      In Stranger Things, Will receives visions
      alternate dimension of evil to both         of an Upside Down, alternate
21    Autumn and Jackson which is a carbon        supernatural dimension world that
22    copy of their reality. Autumn has dreams    appears to threaten him and his family and
      in which a pure light being guides her      friends.
23    with clairaudient messages about how to
24    proceed to keep Jackson safe.
25    Dreams and visions are used in Totem to     Dreams and visions are used in Stranger
26    see into the alternate supernatural plane   Things to see into the alternate
      by those on the earthly plane who have      supernatural plane by those on the earthly
27    “Mystic Visions”.                           plane who can “Shadow Walk”.
28
                                            25
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 1    Family:

 2    In Totem, Autumn and Jackson Chance,           In Stranger Things, the Byers family has
 3    because of their respective afflictions, are   experienced divorce and hard times
      brought closer together feeling like they      financially, which has driven Joyce and
 4
      are two against the world. They support        her two sons closer together. Their love
 5    each other unconditionally. On the other       for each other compels each member to
 6    hand, the Nerowe family feel like they are     assume respective responsibilities to
      being ripped apart because of Nerowe’s         maintain their unity. On the other hand,
 7    stage-4 cancer. They (Nerowe, wife             the Wheeler family’s parents are still
 8    Anna, and daughter Stella) seem to             together physically, but there is a
 9    operate with an agenda different than the      disconnect between them and between the
      Chances until fate intervenes via the          two older children until fate intervenes
10    abduction of a friend bringing the two         via the abduction of a friend bringing the
11    families together and creating healing and     two families together and creating a
      cohesion.                                      healing and cohesion.
12
13    Power and Corruption:
14
      In Totem, corrupt government agents In Stranger Things, corrupt government
15    abuse their power and even commit agents abuse their power and even
16    murder in order to capture Kimi.    commit murder in order to capture
                                          Eleven.
17
18    Courage and Heroism:

19    In Totem, Jackson Chance’s courage born        In Stranger Things, Joyce Byers’ courage
20    of his unconditional love for his wife         born of her unconditional love for her son
      Autumn, drives him to take up a fatal and      Will, drives her to take up a dangerous
21    perilous journey into the alternate            quest into an alternate dimension to
22    supernatural plane to rescue her.              rescue him.

23    Facing Darkness:
24
      In Totem, Autumn Chance enters her shed        In Stranger Things, Joyce Byers enters
25    and faces a supernatural creature because      her house and faces a supernatural
26    she knows it is the only way to save her       creature because she knows it is the only
      husband Jackson.                               way to save her son Will.
27
28
                                             26
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 1    Epilepsy and Seizures

 2    In Totem, Jackson Chance experience            In Stranger Things, Will Byers
 3    violent seizures that bring about visions      experiences seizures that bring about
      of the alternate dimensions, a dark carbon     visions of the Upside Down (an alternate
 4    copy of his present reality, wherein exists    dimension), a dark carbon copy of his
 5    the ultimate evil that is Azrael.              present reality, wherein exists the
                                                     ultimate evil that is the Shadow
 6                                                   Monster/Mind Flayer.
 7
      In Totem, Jackson Chance violently             In Stranger Things, Will violently
 8    seizures in the grass. Seizures are used to    seizures in the grass. Seizures are used to
 9    show Jackson’s connection to the dark          show Will’s connection to the Shadow
      spirit Azrael.                                 Monster.
10
11    Female Roles        with    Supernatural
      Powers:
12
13    In Totem, one of the characters is a           In Stranger Things, one of the characters
14    pubescent girl named Kimi, who has             is a little girl named Eleven, who has
      supernatural powers. Kimi helps her            supernatural powers. Eleven helps her
15    friends find the portal gate to an alternate   friends find the portal gate to an alternate
16    supernatural plane and helps them battle       supernatural plane and helps them battle
      the plane’s inhabitants; a dark spirit         the plane’s inhabitants; a Shadow
17
      named Azrael and his army of Blackwolf.        Monster and his army of Demogorgon.
18
19    Reuniting with Loved Ones:

20    In Totem, Jackson Chance loses his wife In Stranger Things, Joyce Byers loses her
21    Autumn in the earthly plane but finds her son Will in the earthly plane but finds him
      again in the alternate supernatural plane. again in the alternate supernatural plane.
22
23    Man v. Supernatural:

24    In Totem, Jackson and Nerowe must go           In Stranger Things, Joyce and Hopper
25    on a perilous journey into the alternate       must go on a perilous journey into the
      supernatural plane to uncover the mystery      alternate supernatural plane to uncover
26    behind Autumn’s disappearance.                 the mystery behind Will Byer’s
27                                                   disappearance.
28
                                             27
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 1         96. Both Totem and Stranger Things also utilize a substantially similar personal
 2   thematic arc with the inclusion of the less popular model of the steadfast protagonist:
 3         97.   A more specific, personal theme in a story is implied as the result of the
 4   emotional (inner) journey that one (or more) character takes. A story’s moral or ethic is
 5   implied as a result of the inner emotional transformational journey that the point-of-
 6   view character takes. It concludes with the resolution of the respective main character’s
 7   flaw that has formed as the result of some past experience, or ghost, that throws a value
 8   out of balance in their psyche.
 9         98.   Usually, the protagonist, or character that drives the story, is the character
10   that has this change in consciousness. Usually, there is a steadfast character who
11   provokes the change by continuing to challenge the protagonist to make the more
12   emotionally challenging choice, the emotionally risky choice that moves the character
13   closer to the goal. This is the model that is taught to beginning writers and often
14   accepted as the Hollywood story model.
15         99.   However, while not as common, there are cases where the protagonist is the
16   steadfast character and, by maintaining a strong emotional position or mindset, changes
17   those around them. This much less common story model is used in the construction of
18   both of these projects’ core through-lines.
19         100. In the case of Totem, Jackson, as protagonist, is steadfast in his belief and
20   his ability to rescue Autumn. As a result of his steadfast nature, he convinces the
21   doubting Nerowe to believe in the validity of his quest.
22         101. Likewise, in Stranger Things, Joyce Byers, as protagonist, is steadfast in
23   her belief and her ability to rescue Will. As a result of her steadfast nature, she convinces
24   the doubting Hopper to believe in the validity of her quest.
25         102. Both projects being compared here are extremely similar in their
26   application of this lesser-used story model of thematic revelation.
27         103. Because of the need for the Stranger Things series to extend its stories, the
28   same is true of Joyce’s eldest son, Jonathan Byers, who, after doubting Joyce, is
                                             28
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 1   convinced to believe in her quest. Lucas Sinclair, after being skeptical of Eleven’s
 2   presence as an asset, comes to believe that she is a valued friend. Max, after refusing to
 3   believe Lucas’s story about monsters, disappearing friends, and a magical girl called
 4   Eleven, comes to believe that it is all true.
 5         104. Therefore, the thematic journey in both projects is as follows: From
 6   skepticism couched in status quo to belief born of faith in others.
 7         105. In Totem, Nerowe has been trained in the scientific method. Seeing is
 8   believing. Reality comes from what has been discovered. Of course, this limits his
 9   experience of what is possible. Nerowe suffers from stage-4 cancer and he is depressed
10   knowing that he will not see his young daughter grow up. Jackson’s steadfastness
11   dissolves his skepticism and brings him to believe in the prospect of alternate
12   possibilities. As a result, he helps Jackson achieve his quest of rescuing Autumn and
13   his cancer is healed.
14         106. In Stranger Things, Hopper has been trained in police investigation. He
15   believes only in hard evidence. Reality comes from what has been discovered, similar
16   to Nerowe in Totem. This limits his experience of what is possible. Hopper suffers from
17   deep depression because of the death of his young daughter knowing that he will not
18   see her grow up (revealed in Season 1, Episode 7 flashbacks). Joyce’s steadfastness
19   dissolves his skepticism and brings him to believe in the prospect of alternate
20   possibilities (Season 1, Episode 5). As a result, he helps Joyce to achieve her quest of
21   rescuing Will and his depression is healed as he becomes Eleven’s surrogate father
22   (Season 2, Episode 3).
23         107. In Totem, the idea of the need to believe in unknown possibilities is driven
24   home to Jackson and one of his tasks is to convince Nerowe to believe in things unseen.
25   Stranger Things creates this theme of people promising others and stating that one can
26   trust a promise because people don’t lie. In fact, this thematic motif is a request for
27   people to believe the person making the promise. Therefore, the primary theme of
28   believing is extended through this presentation of a promise.
                                              29
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 1        108. On page 113 of the 2013 Totem screenplay (Exhibit “7”), Nerowe, the
 2   change character, says to Jackson: “I believe.” He has spent the entire story ensconced
 3   in his science-based skepticism, which is a subtle form of fear of the unknown. Jackson,
 4   the steadfast character, who needs Nerowe to believe in order for Jackson to complete
 5   his quest to save Autumn, finally convinces him to believe in unknown possibilities.
 6        109. Near the end of Season 1, Episode 5 (40:55) of Stranger Things, Hopper,
 7   the change character, says to Joyce: “You were right. This whole time, you were right.”
 8   Joyce, the steadfast character, who needs Hopper to believe in her in order for her to
 9   complete her quest to save Will, finds comfort in her new ally. She finally convinces
10   him to believe in the unbelievable.
11        110. Because of the nature of the long form of story, this theme is extended to
12   other characters in Stranger Things. Jonathan Byers is skeptical of Joyce, but he comes
13   around. Lucas Sinclair is skeptical of Eleven, but he comes around. Max, in Season 2,
14   is skeptical of Lucas’ story regarding the Shadow Monster, disappearing friends, and
15   Eleven’s powers, but she comes around. Joyce, the character steadfast in her belief that
16   Will is alive, brings those around her to believe as does Jackson do the same in Totem.
17                                           Setting
18         111. The events in Totem and Stranger Things take place in substantially similar
19   settings. Both works are set in a small, middle-class town in rural America surrounded
20   by a sprawling landscape of woods and nature. The citizens in each of the small towns
21   are folksy and friendly with each other, and know each other’s personal business. The
22   inhabitants of both towns feel safe and secure in the knowledge that help is just a phone
23   call away.
24         112. Crucial events in both works take place at the protagonists’ homes, which
25   are depicted in a similar fashion. The protagonists both live in humble houses, have
26   large yards like one would find in a rural town, and both have a tool shed in the back
27   yard in the midst of overgrown vegetation that can be seen from the kitchen window.
28
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 1           113. The tool sheds in both stories become the nexus for abduction into the
 2   alternative dimension. Specifically, in Totem, the tool shed in the Chances’ back yard
 3   becomes the setting where Autumn is abducted by Azrael. In Stranger Things, the tool
 4   shed in the Byers’ back yard becomes the setting where Will is abducted by the
 5   Demogorgon.
 6           114. Even though both works take place in a small town, they both include a
 7   large institutional building (a psychiatric hospital in Totem and a government building
 8   in Stranger Things), which are juxtaposed against the small towns, and buildings are
 9   used for psychiatric evaluations, interrogations, and holding individuals against their
10   will.
11           115. In Totem, Jackson and Nerowe discover that the Chance home resides in an
12   area known as the “Valley of Death” in Azrael’s alternative dimension. It is there that
13   they find Autumn Chance. In Stranger Things, the “Vale of Shadows” is a term used by
14   Will Byers’ friends to describe the Upside Down (alternative dimension). Joyce and
15   Hopper enter the Upside Down to search for Will, traverse the Vale of Shadows, and
16   discover the Byers home—it is there they find Will.
17           116. In Totem, there is a dark, blue-tinted cave that leads to caverns and tunnels
18   that are an opening to the alternate dimension and to Azrael and his minions. Dangers
19   for the good guys emanate from this darkness. Similarly, in Stranger Things, there exists
20   a vast maze of dark, blue-tinted tunnels that are an opening to the Upside Down and to
21   the Shadow Monster/Mind Flayer and its minion. The maze of tunnels leads to clues,
22   settings, and dangers for the good guys.
23           117. Both stories utilize railroad tracks as a symbolic device used to illustrate
24   the journey between the earthly plane and the alternate supernatural plane. In Totem,
25   Jackson follows train tracks during his journey to find Autumn in the alternate
26   supernatural plane. In Stranger Things, Eleven and her friends follow train tracks on
27   their journey to find Will in the alternate supernatural plane. The railroad tracks are a
28   symbolic device used to illustrate the journey between the earthly plane and the alternate
                                              31
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 1   supernatural plane.
 2         118. Both stories include scenes in a sweat lodge. In Totem, Nerowe is brought
 3   to a Lynx Sweat Lodge in the “Village at the End of the World” and forced to sweat out
 4   his illness (cancer) to avoid certain death. In Stranger Things, Will is brought to a
 5   makeshift sweat lodge (in a cabin) and forced to sweat out the Shadow Monster to avoid
 6   certain death.
 7                                     Mood, Tone, and Pace
 8        119. Mood, Tone, and Pace are qualities of genre. Genre is a set of categories in
 9   which one can easily catalog a particular movie or story. Both projects, Totem and
10   Stranger Things, would be categorized in the genre of supernatural horror. Supernatural
11   horror has as its basis an aberration of acceptable reality created or utilized by the
12   paranormal agency of a mysterious entity.
13         120. In both Totem and Stranger Things, there is an alternate dimension where
14   an evil monster exists. This alternate dimension is a dark foreboding carbon copy of the
15   reality where the protagonist exists. In both stories, a “gate” is opened into the alternate
16   carbon-copy dimension and the monster takes advantage of it to enter the human realm
17   and create chaos and havoc. The monsters in both stories escape from the dark,
18   reflective alternate dimension.
19         121. Both projects open with this fissure into the alternate dimension being
20   apparent and the monster entity being revealed in the first scene. Then, the stories move
21   to the ordinary world of the respective protagonists that drive the two stories.
22        122. In both stories the beginning scenes are violent and bloody. The two stories
23   then shift to reveal a pleasant ordinary world that is interrupted by the abduction of a
24   character significant to the respective protagonists.
25        123. In Totem, after establishing the protagonist’s ordinary world, Jackson’s
26   wife, Autumn, is abducted by Azrael, the monster from the dark, but reflective alternate
27   dimension. Similarly, in Stranger Things, Joyce’s son, Will, is abducted by a
28   Demogorgon who has escaped from the dark, reflective alternate dimension.
                                             32
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 1        124. Each project reflects an air of family cohesion that devolves into anxiety,
 2   desperation, and tension as a result of the abduction. The pace of each story accelerates
 3   when the abductions take place and the distress increases in both when the relative
 4   protagonists are not believed. Each narrative plots the same escalation of growing
 5   skepticism in the characters associated with the protagonists.
 6        125. Panic is a primary human reaction in supernatural horror. The two
 7   protagonists, Jackson and Joyce, both pump up their adrenaline in an effort to find their
 8   loved ones. Their panic is interpreted by others as frantic mental chaos and neither is
 9   taken seriously. Their respective hysterical urgency and need to convince an ally,
10   Nerowe in Totem, and Hopper in Stranger Things, of the abduction is met with
11   skepticism in both cases.
12        126. In Totem, there are a number of examples where the description of darkness
13   is a prelude of things to come: Lilly gives Jackson a necklace to “protect ya from de
14   darkness…” (Exhibit “7” at page 5.) Autumn makes Jackson promise that he won’t tear
15   down the shed. “That shed holds captive evil things. Things that belong in the darkness.”
16   (Exhibit “7” at page 16.) Autumn dreams that she “…moves through a dark, bluish
17   toned cavern.” (Exhibit “7” at page 16.) Autumn speaks of her fear for Jackson: “His
18   spirit will be swallowed in darkness if I do not act swiftly.” (Exhibit “7” at page 23.)
19        127. The story moves from the apprehension of darkness to the darkness itself.
20   And as the danger intensifies, so does the tone fade deeper into darkness.
21        128. Similarly, in Stranger Things, the growing darkness is manufactured
22   technically and with a growing number of scenes shot at night. It begins with the night
23   that Will is abducted. He bicycles home at night, hears something in the woods, and
24   races home. He notices someone or something outside the front door and runs out to the
25   tool shed in the back yard to arm himself with a shotgun. He loads the gun, turns around,
26   and the light surges as the monster looms. The monster abducts Will. The light dims
27   and the scene fades to black.
28
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 1        129. The monster (Demogorgon) appears mostly when it is dark outside,
 2   whether at Steve’s party where Barb disappears, or later when Nancy investigates in the
 3   darkened woods (although it is the afternoon), or when the sky has darkened. When the
 4   Demogorgon makes its presence known to Joyce by pressing itself through the walls of
 5   her house, the light is very dim. The atmosphere in general grows dimmer and dimmer
 6   as the episodes progress.
 7        130. The alternative dimensions of Totem and Stranger Things are a dark, bluish-
 8   tinted carbon copy of the respective human dimensions. This is described in the Totem
 9   screenplay. In Stranger Things, it is filmed as a dark, bluish-tinted carbon copy of
10   human reality. The action in these alternate dimension sequences is surreal and slower
11   paced.
12        131. In both stories, when the monster appears, it is announced by lightning
13   flashes or blinking lights. Electricity is affected by its presence in both Totem and
14   Stranger Things. The fact that both stories use lightning and power surges to
15   complement the presence of the respective monsters seems more than coincidental. In
16   fact, the presentational tone of the respective monsters is remarkably similar in both
17   projects.
18        132. In Stranger Things, Season 3, there is a decided shift in the mood and tone
19   from Seasons 1 and 2. A well-lit mall, in which many scenes and sequences take place,
20   lightens the tone. More levity is introduced as a result of the introduction of new
21   comedic characters, Robin and Erica, which shifts the mood. Comedic beats
22   countermand the basic genre of supernatural horror. However, when the monster
23   appears, the mood and tone return to the original supernatural dark and foreboding
24   nature found in Totem.
25        133. Throughout both stories, the horror, the action, and the violence escalate in
26   parallel fashion as the respective protagonists pursue their loved ones. This escalation
27   of tension, trepidation, and violence is complemented by the suggested growing
28   physical darkness of scenes and sequences.
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 1        134. The Mood and Tone of both projects are equally dark and foreboding with
 2   a supernatural sense of horror. Following the core plot of the supernatural horror aspect
 3   of both properties, the Pace is also significantly similar.
 4                                           Dialogue
 5        135. Due to similarities in characters, plot, theme, and sequence, the dialogue or
 6   communications between the characters are substantially similar.
 7        136. Dialogue is a result of a character’s impulse to communicate. That impulse
 8   is translated into language. The symbols of language, i.e., words, are connotative at best.
 9   Thus, in addition to analyzing the similarities in dialogue, it is also important to look at
10   the similarities of character impulses and interpret the similar intents.
11        137. A few examples of similarities in dialogue between Totem and Stranger
12   Things are listed below:
13
14                     Totem                                       Stranger Things

15   In Totem, Nerowe explains to FBI Agent        In Stranger Things, Dr. Sam Owens
     Sam Miller that Jackson has Post              explains to Joyce that Will has Post
16
     Traumatic Stress Disorder (PTSD).             Traumatic Stress Disorder (PTSD). Dr.
17   Specifically, Nerowe says to Sam Miller:      Owens states that Will’s seizures and
18   “He’s mentally ill. He needs professional     strangeness are symptoms of PTSD as a
     care.” (Exhibit “7” at page 65.) Nerowe       result of his experience of having been
19   implies that Jackson’s erratic behavior is    abducted by the Demogorgon/Shadow
20   a result of Autumn’s death, which             Monster. (Season 2, Episode 1.)
     provoked PTSD.
21
22
     In Totem, Autumn says to Jackson: “Your In Stranger Things, after Will has a
23   seizures are getting worse.” (Exhibit “7” massive seizure, Lucas Sinclair says:
24   at page 33.)                              “Two episodes in two days.” Mike follows
                                               with: “It’s getting worse.” (Season 2,
25
                                               Episode 4.)
26
27   In Totem, Nerowe tells Jackson “You In Stranger Things, Jim Hopper tells Joyce
28   need anything, you find me” while in the Byers, “Things get worse, you call me
                                             35
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 1   parking lot of the Psychiatric Hospital first” while in the parking lot of the
     with Autumn. (Exhibit “7” at page 12.)  Hawkins Laboratory with Joyce and Will.
 2                                           (Season 2, Episode 1.)
 3
     In Totem, after Autumn’s funeral,            In Stranger Things, after Will’s body is
 4   Jackson screams to Nerowe: “Azrael is        reported found and identified, Joyce cries
     real. He has Autumn. She’s in pain. I must   to Hopper: “Whoever you found, it’s not
 5
     save her from him. It is my quest!”          my boy. It’s not Will. It’s after him.” She
 6   (Exhibit “7” at page 46.)                    goes on to say: “He was hiding from that,
                                                  that thing. It’s after him. He’s in danger.
 7
                                                  We have to find him.” (Season 1, Episode
 8                                                4.)
 9   In Totem, Nerowe offers a deal to Agent      In Stranger Things, Hopper makes a
10   Sam Miller to help him find Thunderbear      similar deal with the Government Agents
     and the Lynx, and in exchange, Agent         interrogating him. In exchange for
11
     Miller will agree to leave Jackson           releasing he and Joyce, they will maintain
12   alone. Nerowe to Agent Sam Miller: “I        their silence about the ongoings at the
13   give you their location and you let          Hawkins Laboratory. Hopper to Agents:
     Jackson go.” Agent Miller: “An               “Here’s what’s gonna happen. You’re
14   interesting notion.” Nerowe: “I’m            gonna let me and Joyce Byers go. You’re
15   serious, Sam. I give you what you want       gonna give us anything we need. And
     and you leave him alone. Forever. That’s     we’re going to find her son. And then
16
     the deal. Agreed?” (Exhibit “7” at page      we’re going to forget that any of this ever
17   74.)                                         happened.      Agent:     Oh. is that
18                                                right? Hopper: Yep, that’s right. (Season
                                                  1, Episode 8.)
19
20   In Totem, after saving Nerowe’s life,        In Stranger Things, after saving Mike
21   Jackson tells Nerowe that he is sorry for    Wheeler’s life, Eleven tells Mike that she
     hurting him, as Jackson lies bloodied and    is sorry for opening the gate, as she lies
22
     dying in Azrael's sanctuary. Jackson to      bloodied on the gravel. Eleven to
23   Nerowe: "I'm sorry if I hurt you,            Mike: "Mike, I'm sorry." Mike:
24   Willy." Nerowe: "No Brother, you saved       "Sorry?      What     are    you     sorry
     me." (Exhibit "7" at page 114).              for? Eleven: "The gate. I opened it. I'm
25                                                the monster." Mike: "No. No El, you're
26                                                not the monster. You saved me. Don't you
                                                  understand? You saved me." (Season 1,
27
                                                  Episode 6.)
28
                                            36
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 1   In Totem, FBI Agent Sam Miller jokes          In Stranger Things, Season 1, Episode 1,
     that at least the totem that Autumn           Hopper makes a joke about a police report
 2   brought home was not a garden gnome:          that comes in about a stolen garden
 3   “… (sarcastically) at least it’s not a        gnome: “Oh, the Garden Gnomes again.
     Garden Gnome”. (Exhibit “7” at page 23.)      (sarcastically) I’m gonna get right on
 4                                                 that”. Then, in Season 1, Episode 4, a
 5                                                 scene opens with a garden gnome in the
                                                   forefront of the camera shot for no
 6                                                 apparent reason.
 7
 8
 9         138. There are numerous additional examples of similarities in dialogue between
10   the Totem Screenplays and Stranger Things, which will be the subject of discovery in
11   this action, including comparing the dialogue in the Totem Screenplays with the
12   Stranger Things television series scripts.
13         139. Because the stories are also fundamentally similar at their foundation, there
14   are similarities found in the dialogues of both projects that affect the core of the stories
15   themselves. By way of example only, a primary theme of both Totem and Stranger
16   Things is the idea of the protagonists’ allies—Nerowe in Totem and Hopper in Stranger
17   Things—evolving from skepticism to believing a surreal event has happened. When a
18   character promises something, it is a request to believe in something.
19         140. The word “promise”—and its complementary alternatives such as pinkie
20   swears and the phrases “trust me” and “friends don’t lie” are used as a driver of the plot
21   and character relationships in both stories. Promises in both stories lead to the escalation
22   of the plot.
23         141. Multiple characters in both Totem and Stranger Things use the word
24   “promise” to either verbally ask or verbally commit to an agreement. This dialogue tag
25   is used countless times in the stories and often marks the end of a scene and creates a
26   transition. There are numerous examples:
27         142. Totem:
28             Exhibit “7” at page 11: Autumn promises Nerowe that she will take care
                                             37
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 1              of Jackson. Nerowe says: “You make sure to take care of him.” Autumn
 2              replies: “I will. I promise.”
 3            Exhibit “7” at page 16: Autumn’s promise to take care of Jackson is
 4              unknowingly compromised by her request that Jackson promise not to tear
 5              down their back yard shed: “That shed holds captive evil things. Things that
 6              belong in the darkness. Jackson Michael Chance, you promise me you
 7              won’t (tear it down). Swear it to me.” Autumn and Jackson seal this promise
 8              with a pinkie swear.
 9            Exhibit “7” at page 34: Autumn to Jackson: “Promise me you know this.
10              That I would never do anything to hurt you. Promise.” Jackson promises,
11              but then Autumn’s acquisition of Azrael’s totem from Kimi creates dire
12              consequences for Jackson.
13            Exhibit “7” at page 98: Jackson to Kimi: “No one is going to hurt you. I
14              won't let them. I promise!”
15        143. In Stranger Things:
16            Season 1, Episode 2: Mike Wheeler promises Eleven that he will not tell
17              his mom about her. He explains to her that a promise is “something you
18              can’t break. Ever.” This definition implies the pinkie swear found in Totem.
19              Eleven takes this definition literally and it leads to misunderstanding and
20              dissention that feeds the plot by creating conflict amongst the kids.
21            Season 1, Episode 2: Lucas Sinclair and Dustin Henderson promise Eleven
22              they will not tell anyone about her. “A friend is someone you’ll do anything
23              for… and they never break a promise.”
24            Season 1, Episode 2: Like Autumn and Jackson’s pinkie swear in Totem,
25              Lucas explains to Eleven that “spit swear is never breaking your word, it’s
26              a bond” when he spits in his hand and shakes Dustin’s hand.
27            Season 1, Episode 2: Barbara Holland promises Nancy Wheeler that she
28              would go to a party and Nancy holds her to that promise: “You promised
                                            38
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 1               that you’d go. You’re coming.”
 2                                    Additional Similarities
 3        144. There are numerous other similarities between Totem and Stranger Things,
 4   including similarities between protected elements as well as instances where both the
 5   Totem Screenplays and Stranger Things contain a significant number of similar plot
 6   devices, settings, and other elements that together belie any claim of literary accident:
 7                                          Plot Devices
 8        145. Upside Down Imagery/Alternate Dimension: In Totem, being upside down
 9   signifies the moment that one enters into the alternate supernatural plane controlled by
10   Azrael. Notably, the 2010 Totem storyboards include art with Azrael reaching out to a
11   boy named Iron Lightning, who hangs upside down on a totem. Defendant Sims was
12   well aware that Kennedy had created the concept of a “carbon copy” universe, for which
13   the Duffer Brothers attempt to take credit by naming it the “upside down”. This “upside
14   down” imagery however, appears repeatedly in the Totem Copyrighted Works and, of
15   course, Sims was aware of the connection that Kennedy had drawn between being
16   upside down and the final moments of Osthimer’s life, when he was hanging upside
17   down in his car after a tragic accident. In Stranger Things, the alternate plane is referred
18   to as the Upside Down, and signified by an upside-down copy of the earthly plane. This
19   is similar to Kennedy’s concept of being upside down as signifying the moment a
20   character enters the carbon-copy plane as well as in his concept of a “carbon copy”
21   universe.
22        146. Lightning and Electrical Aberrations that Announce the Presence of the
23   Monster: In Totem, the screenplay opens with lightning and the reader learns that evil
24   is present. This evil takes the form of Azrael’s minions first—Blackwolf Indians.
25   Lightning announces the Blackwolf Indians and Azrael on numerous pages. (See
26   Exhibit “7” at pp. 15, 32, 34, 35, 37, 49, 87, 88, 98, 99, 104, 105, 107, and 108.) Also,
27   the electrical surges in Jackson Chance’s brain during his seizures give him visions of
28   the monster Azrael. Similarly, in Stranger Things, throughout Season 1, electrical
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 1   aberrations, such as lights blinking, electrical outages, phones going dead, announce the
 2   presence of the monster. In Episode 8, Jonathan says, “My mom, she said the lights
 3   speak when it comes. Blink. Think of them as alarms.” Then, the lights begin to blink.
 4   The first time the lights blink to announce the Demogorgon happens early in Season 1,
 5   Episode 1. Initially, the Wheeler’s exterior house lights blink, after which Will’s bicycle
 6   light blinks. That motif continues throughout Season 1. For instance, when Eleven
 7   enters the sensory deprivation bath in Episode 7, a tremendous electrical activity surge
 8   happens. However, in Season 2, the blinking lights are replaced with lightning. It is all
 9   about electricity and power surges in both stories.
10        147. Seizures: In Totem, seizures are associated with surges in neural electricity
11   and electrical surges are associated with the monster’s presence. Jackson has electrical
12   surges in his brain that result in grand mal seizures on the following pages of the 2013
13   draft of Totem. (See Exhibit “7” at pp. 3, 6, 9, 14, 16, 33, 36, 46, 50, 73, 85, 102, 103,
14   107.) In almost every seizure that he has, Jackson either has a vision of a dramatic future
15   event or he has an experience of Azrael and the alternate dimension. In Stranger Things,
16   Season 2, Episodes 3-4, when the Shadow Monster/Mind Flayer enters Will’s body, he
17   has a seizure. But he has shivering reactions before that event that flips him briefly into
18   the Upside-Down, alternate dimension. This happens in Season 2, Episodes 1, 2, and 3
19   before the Shadow Monster/Mind Flayer enters him and gives him grand mal seizures.
20   Will’s massive seizures happen in Season 2, Episodes 4, 6, 8, and 9.
21        148. Drawings: In Totem, Autumn draws her visions and dreams. Stella,
22   Nerowe’s young daughter also draws her visions. These drawings from both reveal
23   clues to Azrael’s identity and his alternate dimension as well as to Autumn’s location
24   and her predicament. Jackson and Nerowe use the drawings created by Autumn to locate
25   a series of bluish toned tunnels in the alternate supernatural plane that lead to Azrael.
26   They evade the attacking army of Blackwolf and defeat Azrael by breaking Azrael’s
27   grip on Jackson with heat lighting. Similarly, in Stranger Things, Will draws his visions
28   which reveal the shape, size, and dimension of the Shadow Monster. His drawings also
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 1   reveal the whereabouts of Hopper when Hopper gets trapped in the Shadow Monsters’
 2   tentacle-laced dark bluish tunnels. Joyce, Hopper, and friends use drawings created by
 3   Will to locate a series of bluish toned tunnels in the alternate supernatural plane that
 4   lead to the Shadow Monster. They evade the attacking army of Demogorgon and defeat
 5   the Shadow Monster by breaking its grip on Will with heat.
 6        149. Communicating with Alternate Dimension: In Totem, Autumn hangs dream
 7   catchers all over her house and uses them as communication conduits to talk to Kimi in
 8   the alternate dimension. In Stranger Things, Joyce Byers hangs Christmas lights
 9   throughout her house and communicates through them with Will while he is in the
10   Upside Down.
11                                            Settings
12        150. Backyard Sheds - Both projects use a shed in the respective protagonist’s
13   back yard as the setting for the monster to abduct the loved one. In Stranger Things,
14   Will is abducted from the shed because he went there to retrieve a shotgun. The shotgun
15   could have been in a garage, basement, attic, pickup truck, etc., but it was a backyard
16   shed, the same as in Totem.
17        151. Sweat Lodge - Both projects use a sweat lodge to sweat out evil from
18   significant characters.
19        152. Dark Bluish Tunnels - Both projects use dark, bluish tunnels as ways to
20   enter the alternate dimension. In Totem, Azrael uses purple feathers to entrap souls. In
21   Stranger Things, white feathery spores float in the atmosphere and slow the action.
22        153. Woods and Forests in Rural America - Both projects use surrounding woods
23   and forests for significant scenes and sequences. In fact, both projects are set in what
24   appears to be the exact same setting.
25                                       Integral Elements
26        154. Butterfly: In Totem, the butterfly is frequently used as a motif to imply
27   transformation. In fact, the butterfly motif shows up on numerous pages in the 2013
28   Draft. (See Exhibit “7” at pp. 13, 20, 43, 44, 47, 57, 70, 71, 72, 73, 83, 85, 93, 112, 115,
                                                41
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 1   119.) In Stranger Things, the butterfly motif is used casually but repeatedly. In Season
 2   1, Episode 4, Nancy has butterfly stickers on the inside of her locker. In Season 2,
 3   Episode 7, Kali manifests a blue butterfly to prove to Eleven what her powers are. In
 4   Season 2, Episode 9, a butterfly design is crocheted into a pillow on the Byers’ sofa.
 5        155. Tattoos: In Totem, the butterfly tattoo on the wrist is used as a form of
 6   identification between Autumn and Kimi stating that they belong to the spiritual tribe
 7   of the Lynx Native Americans. In Stranger Things, the numbers imprinted on their wrist
 8   identifies Eleven and Kali as “sisters” from the Hawkins National Laboratory.
 9        156. Totem: In Totem, a totem is the McGuffin that opens the gateway to
10   Azrael’s alternate dimension and frees him to enter the human dimension. In Stranger
11   Things, a totem sits in Will Byer’s bedroom on a shelf. There is no reason to have a
12   totem on his shelf as it has no relevance to his interests or personality or to anything
13   else in his room.
14        157. Dream Catchers/Lights – Lights also equate in Stranger Things with the
15   glowing dream catchers in Totem. In Totem, Autumn hangs dream catchers all over her
16   house and uses them as communication conduits to talk to Kimi in that realm.
17        158. Hockey Stick: In Totem, Jackson uses a hockey stick to attack the shed in
18   his back yard. In Stranger Things, Dustin protects himself from Dart (the baby Demo-
19   Dog now half grown) with a hockey stick; he could have used many different items to
20   protect himself other than a hockey stick.
21        159. Lynx – In Totem, Lynx is the name of the spiritual tribe of Native
22   Americans who guard the gateway to the alternate dimension. In Stranger Things,
23   Season 3, the Lynx Corporation is a transport company assisting with secret deliveries
24   to an undercover Russian operation.
25        160. Monster Enslaves Humans - In Totem, the bodies taken over by Azrael act
26   as a hive-mind group controlled by the monster Azrael. They are called
27   Grims/Watchers. In Stranger Things, bodies taken over by the Shadow Monster/Mind
28   Flayer act as a hive-mind group controlled by the monster. They are called “the Flayed”.
                                            42
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 1   In both cases, they act in unison as extensions of the monster.
 2        161. Garden Gnome: In Totem, Agent Sam Miller jokes that at least the totem
 3   that Autumn brought home was not a garden gnome: “… (sarcastically) at least it’s not
 4   a Garden Gnome”. In Stranger Things, Season 1, Episode 1, Hopper makes a joke about
 5   a police report that comes in about a stolen garden gnome: “Oh, the Garden Gnomes
 6   again. (sarcastically) I’m gonna get right on that”. Then, in Season 1, Episode 4, a scene
 7   opens with a garden gnome in the forefront of the camera shot for no apparent reason.
 8        162. Stranger Things Title: As if all of these similarities were not egregious
 9   enough, Stranger Things appears to derive its very title from a line of Jackson’s in
10   Totem. Specifically, there is a scene in which Jackson is speaking with Nerowe
11   regarding Autumn and whether she is a mystic. Nerowe asks whether Autumn has taken
12   her medicine because without it “she can’t distinguish between what’s real and what
13   isn’t”. In response, Jackson says: “But how can we really know what is real? I mean,
14   sometimes I see things. Strange things.”
15        163. Dungeons & Dragons: On page 35 of the 2008 script entitled Chain of Being
16   (copyright registration at Exhibit “2”), a previous draft of Totem, Nerowe, skeptical of
17   Jackson’s story about Azrael and Autumn’s predicament, says to him, “Azrael
18   Seraphim, High Archangel of Death? Leader of the fallen Grigori Angel Choir, known
19   to many as The Watchers?... This is hocus-pocus. It’s dungeons and dragons, voodoo
20   bullshit.” The same quote exists on page 44 of the 2010 draft retitled as Totem. In
21   Stranger Things, Will’s friends, Mike Wheeler, Dustin Henderson, and Lucas Sinclair
22   frequently use the game and mythology of Dungeons & Dragons to build their case for
23   their belief and understanding of Will’s predicament in the Upside-Down, alternate
24   dimension.
25           ALLEGATIONS OF SUBSTANTIAL SIMILARITY BETWEEN
26                  TOTEM CONCEPT ART AND STRANGER THINGS
27        164. In addition to these substantial similarities between the Totem Screenplays
28   and the television series Stranger Things, there are substantial similarities between
                                             43
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 1   protectable elements of the Totem Concept Art, which were created by Defendant Aaron
 2   Sims for the Totem project, and the art for Stranger Things.
 3         165. Exhibit “9” to this First Amended Complaint is a compilation of
 4   copyrighted illustrations and still photos from Totem juxtaposed with scenes from
 5   Stranger Things, which evidence infringement by Defendants.
 6         166. Exhibit “10” to this First Amended Complaint is a compilation of 2010
 7   development materials created for Totem (including storyboards, illustrations, posters,
 8   excerpts from the screenplay) juxtaposed with photos and stills from Stranger Things,
 9   which further evidence infringement by Defendants.
10                                      CONCLUSION
11         167. Stranger Things is clearly derivative of the Totem Screenplays and
12   incorporates numerous protected elements that appear in both the screenplays and the
13   related Totem Concept Art created by Sims. There is no dispute that Sims had access to
14   the screenplays; indeed, he was working with Kennedy as the Totem story was being
15   developed and was himself involved in the creative process.
16         168. Again, it is no small coincidence that after Sims started work with the
17   Duffer Brothers in 2013, they suddenly were “inspired” to create the October 2013
18   skeleton outline that would become Stranger Things and which incorporates numerous
19   elements from the Totem Copyrighted Works. The level of access that Sims had to the
20   Totem Copyrighted Works and the proximity between his commencing work with the
21   Duffer Brothers and their “creation” of Stranger Things certainly gives rise to the
22   presumption that the Duffer Brothers infringed on Plaintiff’s valid copyrights.
23         169. It is more than just a mere possibility that Sims, who created the Totem
24   Concept Art and was involved in the development of the screenplays, disclosed the
25   Totem Copyrighted Works to the Duffer Brothers, who then incorporated elements from
26   those works without permission or authorization from Kennedy or Plaintiff.
27   ///
28   ///
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 1                                 FIRST CAUSE OF ACTION
 2                        (Copyright Infringement—Totem Screenplays)
 3                                  (As Against all Defendants)
 4         170. Plaintiff hereby repeats, realleges, and incorporates by this reference each
 5   and every allegation from each and every paragraph before and after this paragraph, as
 6   though said paragraphs were set forth in full herein.
 7         171. The Totem Screenplays constitute copyrightable subject matter under the
 8   Copyright Act, 17 U.S.C. sections 101 et seq.
 9         172. Plaintiff is the owner of valid copyrights in and to the Totem Screenplays
10   and has the exclusive right to develop, create, and/or produce televisions shows based
11   on the Totem Screenplays, including but not limited, but not limited to, the characters,
12   plot, sequence, themes, setting, mood/tone, pace, and dialogue, and other events and
13   incidents therein.
14         173. Plaintiff is entitled to all of the protections and remedies for the Totem
15   Screenplays accorded to a copyright owner.
16         174. At no time did Plaintiff license the Totem Screenplays to Defendants.
17         175. Upon information and belief, in direct violation of Plaintiff’s exclusive
18   rights, Defendants have directly infringed, and unless enjoined by this Court, will
19   continue to infringe the copyrights in the Totem Screenplays by, among other things:
20             Preparing unauthorized derivative works of the Totem Screenplays in the
21                form of the television series Stranger Things;
22             Reproducing copyrighted elements of the Totem Screenplays in the
23                television series Stranger Things;
24             Publicly performing the television series Stranger Things, which contain
25                copyright elements of the Totem Screenplays.
26         176. Defendants’ acts of infringement were willful, in disregard of and with
27   indifference to the rights of Plaintiff.
28         177. Each infringement by Defendants on Plaintiff’s copyrights in and to the
                                              45
                             FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   Totem Screenplays constitutes a separate and distinct act of infringement.
 2        178. As a direct, legal, and proximate result of the infringements by Defendants,
 3   Plaintiff is entitled to damages and Defendants’ profits in amounts to be proven at trial
 4   which are not currently ascertainable. If necessary, Plaintiff will seek leave to amend
 5   this First Amended Complaint to state the full amount of such damages and profits when
 6   such amounts have been ascertained.
 7        179. Alternatively, Plaintiff is entitled to the maximum statutory damages in the
 8   amount of $150,000 with respect to each work infringed or for such other amounts as
 9   may be proper under 17 U.S.C. § 504(c).
10        180. Plaintiff is further entitled to attorney’s fees and full costs pursuant to 17
11   U.S.C. § 505.
12        181. As a direct, legal, and proximate result of foregoing acts and conduct,
13   Plaintiff has sustained and will continue to sustain substantial, immediate, and
14   irreparable injury, for which there is no adequate remedy at law. Plaintiff is informed
15   and believes, and on that basis alleges, that unless enjoined and restrained by this Court,
16   Defendants will continue to infringe Plaintiff’s rights in the Totem Screenplays. Plaintiff
17   is entitled to preliminary and permanent injunctive relief.
18                              SECOND CAUSE OF ACTION
19                      (Copyright Infringement—Totem Concept Art)
20                                 (As Against all Defendants)
21        182. Plaintiff hereby repeats, realleges, and incorporates by this reference each
22   and every allegation from each and every paragraph before and after this paragraph, as
23   though said paragraphs were set forth in full herein.
24        183. The Concept Art constitutes copyrightable subject matter under the
25   Copyright Act, 17 U.S.C. sections 101 et seq.
26        184. Plaintiff is the owner of valid copyrights in and to the Concept Art and has
27   the exclusive right to develop, create, and/or produce televisions shows based on the
28   Totem screenplays, including but not limited to the characters, plot, sequence, themes,
                                             46
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 1   setting, mood/tone, pace, and dialogue, and other events and incidents therein.
 2         185. Plaintiff is entitled to all of the protections and remedies for the Totem
 3   screenplays accorded to a copyright owner.
 4         186. At no time did Plaintiff license the Totem Concept Art to Defendants.
 5         187. Upon information and belief, in direct violation of Plaintiff’s exclusive
 6   rights in the Totem Concept Art, Defendants have directly infringed, and unless
 7   enjoined by this Court, will continue to infringe the copyrights in the Totem Concept
 8   Art by, among other things:
 9             Preparing unauthorized derivative works of the Totem Concept Art that
10                have been incorporated into the television series Stranger Things.
11             Reproducing copyrighted elements of the Totem screenplays in the
12                television series Stranger Things;
13             Publicly performing the television series Stranger Things, which contain
14                copyright elements of the Totem screenplays.
15         188. Defendants’ acts of infringement were willful, in disregard of and with
16   indifference to the rights of Plaintiff.
17         189. Each infringement by Defendants on Plaintiff’s copyrights in and to the
18   Totem Screenplays constitutes a separate and distinct act of infringement.
19         190. As a direct, legal, and proximate result of the infringements by Defendants,
20   Plaintiff is entitled to damages and Defendants’ profits in amounts to be proven at trial
21   which are not currently ascertainable. If necessary, Plaintiff will seek leave to amend
22   this First Amended Complaint to state the full amount of such damages and profits when
23   such amounts have been ascertained.
24         191. Alternatively, Plaintiff is entitled to the maximum statutory damages in the
25   amount of $150,000 with respect to each work infringed or for such other amounts as
26   may be proper under 17 U.S.C. § 504(c).
27         192. Plaintiff is further entitled to attorney’s fees and full costs pursuant to 17
28   U.S.C. § 505.
                                              47
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 1         193. As a direct, legal, and proximate result of foregoing acts and conduct,
 2   Plaintiff has sustained and will continue to sustain substantial, immediate, and
 3   irreparable injury, for which there is no adequate remedy at law. Plaintiff is informed
 4   and believes, and on that basis alleges, that unless enjoined and restrained by this Court,
 5   Defendants will continue to infringe Plaintiff’s rights in the Totem Screenplays. Plaintiff
 6   is entitled to preliminary and permanent injunctive relief.
 7                                THIRD CAUSE OF ACTION
 8                           (Contributory Copyright Infringement)
 9                                 (As Against All Defendants)
10         194. Plaintiff hereby repeats, realleges, and incorporates by this reference each
11   and every allegation from each and every paragraph before and after this paragraph, as
12   though said paragraphs were set forth in full herein.
13         195. On information and belief, Defendants knew or had reason to know that
14   Stranger Things is an unauthorized derivative work based on the Totem Copyrighted
15   Works, including the Totem Screenplays and Totem Concept Art, that are, at least in
16   part, substantially similar to the copyright elements in copyrighted Totem screenplays.
17         196. On information and belief, Defendants induced, caused, and materially
18   contributed to the unauthorized preparation, duplication, distribution, and public
19   performance of the infringing Stranger Things television series, and are continuing to
20   do so.
21         197. In violation of Plaintiff’s exclusive rights, Defendants have contributed to
22   the infringement and, unless enjoined by this Court, will continue to contribute to the
23   infringement of the copyrights in the copyrighted Totem copyrighted works.
24         198. Defendants’ acts of infringement were willful, in disregard of and with
25   indifference to the rights of Plaintiff.
26         199. Each infringement by Defendants on Plaintiff’s copyrights in and to the
27   Totem Screenplays constitutes a separate and distinct act of infringement.
28         200. As a direct, legal, and proximate result of the infringements by Defendants,
                                              48
                             FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   Plaintiff is entitled to damages and Defendants’ profits in amounts to be proven at trial
 2   which are not currently ascertainable. If necessary, Plaintiff will seek leave to amend
 3   this First Amended Complaint to state the full amount of such damages and profits when
 4   such amounts have been ascertained.
 5         201. Alternatively, Plaintiff is entitled to the maximum statutory damages in the
 6   amount of $150,000 with respect to each work infringed or for such other amounts as
 7   may be proper under 17 U.S.C. § 504(c).
 8         202. Plaintiff is further entitled to attorney’s fees and full costs pursuant to 17
 9   U.S.C. § 505.
10         203. As a direct, legal, and proximate result of foregoing acts and conduct,
11   Plaintiff has sustained and will continue to sustain substantial, immediate, and
12   irreparable injury, for which there is no adequate remedy at law. Plaintiff is informed
13   and believes, and on that basis alleges, that unless enjoined and restrained by this Court,
14   Defendants will continue to infringe Plaintiff’s rights in the Totem Screenplays. Plaintiff
15   is entitled to preliminary and permanent injunctive relief.
16                              FOURTH CAUSE OF ACTION
17                            (Vicarious Copyright Infringement)
18                                (As Against All Defendants)
19         204. Plaintiff hereby repeats, realleges, and incorporates by this reference each
20   and every allegation from each and every paragraph before and after this paragraph, as
21   though said paragraphs were set forth in full herein.
22         205. On information and belief, Defendants have the right and ability to
23   supervise the other Defendants, and on information and belief, did supervise them in
24   their unlawful preparation, duplication, and distribution of the Stranger Things
25   television series.
26         206. On information and belief, Defendants enjoy a direct financial benefit from
27   the preparation, duplication, and distribution of the infringing Stranger Things
28   television series.
                                             49
                            FIRST AMENDED COMPLAINT FOR DAMAGES
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 1         207. In direction violation of Plaintiff’s exclusive rights and as a consequence of
 2   the foregoing, Defendants have vicariously infringed the copyrights in the Totem
 3   Copyrighted Works.
 4         208. Defendants’ acts of infringement were willful, in disregard of and with
 5   indifference to the rights of Plaintiff.
 6         209. Each infringement by Defendants on Plaintiff’s copyrights in and to the
 7   Totem Screenplays constitutes a separate and distinct act of infringement.
 8         210. As a direct, legal, and proximate result of the infringements by Defendants,
 9   Plaintiff is entitled to damages and Defendants’ profits in amounts to be proven at trial
10   which are not currently ascertainable. If necessary, Plaintiff will seek leave to amend
11   this First Amended Complaint to state the full amount of such damages and profits when
12   such amounts have been ascertained.
13         211. Alternatively, Plaintiff is entitled to the maximum statutory damages in the
14   amount of $150,000 with respect to each work infringed or for such other amounts as
15   may be proper under 17 U.S.C. § 504(c).
16         212. Plaintiff is further entitled to attorney’s fees and full costs pursuant to 17
17   U.S.C. § 505.
18         213. As a direct, legal, and proximate result of foregoing acts and conduct,
19   Plaintiff has sustained and will continue to sustain substantial, immediate, and
20   irreparable injury, for which there is no adequate remedy at law. Plaintiff is informed
21   and believes, and on that basis alleges, that unless enjoined and restrained by this Court,
22   Defendants will continue to infringe Plaintiff’s rights in the Totem Screenplays. Plaintiff
23   is entitled to preliminary and permanent injunctive relief.
24         214. As a direct, legal, and proximate result of Defendants’ contributory
25   infringement on Plaintiff’s copyrights in and to the Totem Copyrighted Works, Plaintiff
26   has been damaged in an amount according to proof at trial.
27   ///
28   ///
                                              50
                             FIRST AMENDED COMPLAINT FOR DAMAGES
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 1                                FIFTH CAUSE OF ACTION
 2                                      (Declaratory Relief)
 3                                (As Against All Defendants)
 4        215. Plaintiff hereby repeats, realleges, and incorporates by this reference each
 5   and every allegation from each and every paragraph before and after this paragraph, as
 6   though said paragraphs were set forth in full herein.
 7        216. An actual controversy has arisen and now exists relating to the rights and
 8   duties of Plaintiff and Defendants under the United States copyright laws.
 9        217. Plaintiff contends that it is the sole owner of the Totem Copyrighted Works,
10   including the Totem Screenplays and related Totem Concept Art, and that Stranger
11   Things infringes on Plaintiff’s rights in and to the Totem Copyrighted Works.
12        218. Plaintiff further contends that it is entitled to compensation based on
13   Defendants’ infringement on Plaintiff’s rights in and to the Totem Copyrighted Works
14   and that Kennedy is entitled to credit as a writer of Stranger Things.
15        219. Plaintiff is informed and believes and thereon alleges that Defendants
16   dispute Plaintiff’s contentions.
17        220. Plaintiff therefore desires a judicial determination and declaration of the
18   respective rights and obligations of the parties.
19
20                                  PRAYER FOR RELIEF
21         WHEREFORE, Plaintiff IRISH ROVER ENTERTAINMENT, LLC prays for
22   the following relief against Defendants AARON SIMS, MATT DUFFER, ROSS
23   DUFFER, NETFLIX, INC., NETFLIX STREAMING SERVICES, LLC, 21 LAPS,
24   INC., and DOES 1 through 50, as follows:
25        1.     For a preliminary and permanent injunction enjoining Defendants from
26   infringing the copyrights of Plaintiff in any manner.
27        2.     For an award of all gains, profits, and advantages derived by Defendants by
28   their infringement of Plaintiff’s copyrights or such damages as the Court shall deem
                                             51
                            FIRST AMENDED COMPLAINT FOR DAMAGES
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 1   proper within the provisions of the copyright statute, in an amount determined at trial,
 2   together with interest thereon as provided by law. Alternatively, for maximum statutory
 3   damages in the amount of $150,000 with respect to each copyrighted work infringed
 4   either directly or indirectly, and with respect to each act of inducing another to infringe
 5   one of the copyrighted works, or for such other amounts as may be proper pursuant to
 6   17 U.S.C. § 504(c).
 7         3.    For an order requiring that Defendants provide a complete accounting and
 8   for the restitution to Plaintiff of all monies, gains, profits and advantages Defendants
 9   have derived from their production, distribution and exploitation of the infringing
10   television series Stranger Things, and ancillary products based thereon, and from their
11   copyright infringement the Totem Copyrighted Works.
12         4.     For an order imposing a constructive trust over all monies, gains, and
13   profits Defendants derive from their production, distribution and exploitation of the
14   infringing television series, and ancillary products based thereon, and from their
15   copyright infringement of the Totem Copyright Works.
16         5.    For statutory damages, costs, and attorney’s fees with respect to television
17   series Stranger Things and any derivative works.
18         6.     For such other and further relief and remedies available under the
19   Copyright Act, 17 U.S.C. §§ 101 et seq., which the Court may deem just and proper.
20         7.    For a judicial declaration that: (a) Stranger Things infringes on Plaintiff’s
21   rights in and to the Totem Copyrighted Works, including the Totem Screenplays and
22   Totem Concept Art; (b) Plaintiff is entitled to compensation based on Defendants’
23   infringement on Plaintiff’s rights in and to the Totem Copyrighted Works; and (c)
24   Kennedy is entitled to credit as a writer of Stranger Things.
25   ///
26   ///
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                            FIRST AMENDED COMPLAINT FOR DAMAGES
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 1        8.    For such other and further relief as the Court deems just and proper.
 2
 3    Dated: October 12, 2020           BOREN, OSHER & LUFTMAN LLP

 4
 5                                      By: /s/ Jeremy J. Osher
                                            Jeremy J. Osher
 6                                          Saba Zafar
 7                                          Attorneys for Plaintiff
                                            IRISH ROVER ENTERTAINMENT, LLC
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                          FIRST AMENDED COMPLAINT FOR DAMAGES
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 1                                DEMAND FOR JURY TRIAL
 2          Plaintiff IRISH ROVER ENTERTAINMENT, LLC hereby demands a trial by
 3   jury in this action on all issues so triable.
 4
 5
      Dated: October 12, 2020               BOREN, OSHER & LUFTMAN LLP
 6
 7
                                            By: /s/ Jeremy J. Osher
 8                                             Jeremy J. Osher
 9                                             Saba Zafar
                                               Attorneys for Plaintiff
10                                             IRISH ROVER ENTERTAINMENT, LLC
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